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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF TENNESSEE

                               NASHVILLE DIVISION


ST. CLAIR COUNTY EMPLOYEES’               )   Civil Action No. 3:18-cv-00988
RETIREMENT SYSTEM, Individually and on )
Behalf of All Others Similarly Situated,  )   CLASS ACTION
                                          )
                              Plaintiff,  )   U.S. District Court Judge Eli J. Richardson
                                          )   Magistrate Judge Alistair E. Newbern
        vs.                               )
                                          )   CONSOLIDATED COMPLAINT FOR
ACADIA HEALTHCARE COMPANY, INC., )            VIOLATIONS OF THE FEDERAL
et al.,                                   )   SECURITIES LAWS
                                          )
                              Defendants.
                                          )
                                              DEMAND FOR JURY TRIAL
                                          )




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I.      INTRODUCTION

        1.      This is a securities class action on behalf of purchasers of Acadia Healthcare

Company, Inc. (“Acadia” or the “Company”) securities between April 30, 2014 and November 15,

2018, inclusive (the “Class Period”), seeking to pursue remedies under the Securities Exchange Act

of 1934 (the “1934 Act”).

        2.      Acadia is a for-profit healthcare company focused on operating inpatient psychiatric

facilities, residential treatment centers, group homes, substance abuse facilities, and facilities

providing outpatient behavioral healthcare services in the United States, the United Kingdom

(“U.K.”) and Puerto Rico. Acadia has two operating segments, U.S. Facilities, with more than 200

behavioral healthcare facilities and approximately 9,300 beds in 40 states and Puerto Rico, and U.K.

Facilities, with over 370 behavioral healthcare facilities and approximately 8,800 beds in the U.K.

        3.      Throughout and prior to the Class Period, defendants engaged in a scheme to defraud

and made numerous materially false and misleading statements and omissions to investors regarding

Acadia’s business and operations, including by falsely stating that: (i) offering quality care was of

fundamental importance to Acadia’s business model, and that its facilities provided high-quality care

that would drive Acadia’s success; (ii) Acadia adequately staffed its facilities to ensure its ability to

provide appropriate care to patients; (iii) Acadia’s facilities were in compliance with relevant

regulatory requirements; and (iv) Acadia’s U.K. operations would achieve substantial revenue and

earnings growth in the face of nursing shortages and negative media reports about the Company’s

operations. The truth was very different from what defendants led investors to believe.

        4.      First, Acadia did not provide quality care. Instead, defendants prioritized profits over

patient care and safety. Acadia’s Treatment Placement Specialists reportedly placed patients in

facilities with the goal of maximizing their commissions and Acadia’s profits, not because those

facilities were in the best interest of the patients. Sexual assault and suicide occurred at Acadia

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facilities with troubling frequency, and Acadia’s corporate policies required employees to conduct

investigations internally, rather than immediately contact police. Contrary to defendants’ statements

that they achieved growth through improving the quality of care offered at its facilities, Acadia

achieved growth by slashing costs to extract higher profits from the facilities it operated at the

expense of patient care and safety, as well as the Company’s reputation and long-term viability.

        5.      Second, Acadia understaffed its facilities and hired unqualified staff in order to cut

costs to the detriment of patient care. Acadia hospitals were fined for being so understaffed that they

failed to maintain a safe work environment. In other instances, facilities would pass audits by

inflating staff levels during inspections and then immediately cut staff after the audit was complete.

Understaffing and a failure to monitor patients were cited in government reports and lawsuits as

contributing to suicides and sexual assaults. Employee pleas for higher staffing levels went

unheeded.

        6.      Third, while defendants repeatedly assured investors that the massive acquisition of

the U.K.’s largest behavioral health company, the Priory Group (“Priory”), would allow Acadia to

realize record profits and earnings in FY 2017, defendants had no reasonable basis to believe, and

did not actually believe, that such results would materialize. While defendants blamed staffing costs

and lower census results for their massive Q3 2017 earnings miss, they admittedly knew about rising

agency staffing costs throughout 2017 and monitored their patient admission trends on a daily basis.

Particularly in light of negative media reports regarding Priory facilities in 2017, defendants had no

reasonable basis to believe, and did not actually believe, in the census figures underpinning their

projections.

        7.      Defendants knew or were reckless in not knowing that their Class Period statements

concerning quality of care, staffing and Acadia’s U.K. operations were misleading when made.

While the price of Acadia securities was artificially inflated by the fraud alleged herein, the

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Individual Defendants (defined below), as well as Reeve B. Waud (“Waud”), one of Acadia’s

founders, realized hundreds of millions of dollars in insider trading proceeds by dumping the

majority of their Acadia shares. Indeed, defendant Joey A. Jacobs’ largest-ever sale of Acadia

stock – over $25 million worth – came just prior to the first corrective disclosure of the alleged

fraud. On this same date, August 22, 2017, Waud sold almost $50 million of Acadia stock. In

addition to their large and suspiciously timed insider sales, the Individual Defendants’ incentive

compensation structure – which expressly carved out of consideration expenses related to poor

quality care, such as legal settlement costs and non-recurring items – incentivized short-term profit

over patient care. Moreover, the Individual Defendants admitted that they personally and actively

managed patient admissions and staffing, the two issues at the heart of the alleged fraud. The

rampant patient care and staffing problems, and defendants’ knowledge thereof, are corroborated by

former Acadia employees who tell a similar story of patient neglect and a never-ending focus on

short-term profits over quality care, all of which contradict defendants’ Class Period statements to

investors.

        8.      When defendants could no longer sustain their fraud, but not before unloading nearly

all of their Acadia stock, the true state of affairs at Acadia and its facilities began to be revealed.

First, on October 24, 2017, Acadia issued a release entitled “Acadia Healthcare Reports Third

Quarter Financial Results.” The release stated that Acadia badly missed its Q3 2017 revenue and

earnings targets, and was substantially reducing its guidance for the remainder of the year. On this

news, the price of Acadia securities declined from a close of $44.12 per share on October 24, 2017,

to an intraday low of $30.91 per share on October 25, 2017, a decline of 30%.

        9.      On October 11, 2018, Aurelius Value published a report and released a video

documenting systematic instances of patient abuse and neglect at dozens of Acadia facilities, caused

primarily by understaffing.

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        10.    The report included an analysis of Centers for Medicare & Medicaid Services

(“CMS”)1 inspection reports from 2013 to 2018 for 31 of the 40 acute inpatient U.S. hospitals that

were listed on Acadia’s website. The analysis found that federal inspectors uncovered staffing

deficiencies at over 90% of these 31 Acadia hospitals, including repeated violations for not having

enough nurses or qualified practitioners on hand. Of the 28 hospitals that had staffing deficiencies,

89% were also cited by inspectors for deficiencies related to patient safety or care, including

violations involving patient deaths, suicides, elopements (escapes), improper or erroneous

administration of medications, improper use of restraints, and physical or sexual assaults. Inspectors

also found managerial deficiencies at 87% of the 31 facilities, which included failures to report

incidents to law enforcement or even investigate patient abuse allegations, and failures to provide

proper oversight or follow or establish appropriate patient safety protocols. On this news, the price

of Acadia securities declined from a close of $36.55 per share on October 10, 2018, to an intraday

low of $32.37 per share on October 12, 2018, a decline of more than 11%.

        11.    On November 16, 2018, Seeking Alpha published an article entitled, “Acadia

Healthcare: Very Scary Findings From A 14-Month Investigation.” The article described Acadia’s

rapid growth, but attributed Acadia’s recent revenue and margin increases to cost-cutting and

“reducing the quality of care.” The article highlighted severe problems at seven of Acadia’s

facilities – facilities also mentioned in the Aurelius Value report – as “consistent with declining

quality of care,” and reported that according to an industry expert, “‘due to the number of suicides at

some of their facilities, Acadia’s ability to accept certain patients has been restricted by state-level

governments.’” On this news, the price of Acadia securities declined from a close of $37.86 per

share on November 15, 2018, to an intraday low of $28.02 per share on November 16, 2018 – a

decline of 26%.

1
    CMS is a federal agency within the U.S. Department of Health and Human Services.

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         12.        These declines in the price of Acadia securities caused hundreds of millions of dollars

in losses to Acadia investors, who suffered damages when the truth began to be revealed. Plaintiffs

seek to recover these losses on behalf of the investors who purchased or otherwise acquired Acadia

securities during the Class Period.

II.      JURISDICTION AND VENUE

         13.        The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the 1934

Act (15 U.S.C. §§78j(b) and 78t(a)), and U.S. Securities and Exchange Commission (“SEC”) Rule

10b-5 (17 C.F.R. §240.10b-5) promulgated thereunder. This Court has jurisdiction over the subject

matter of this action pursuant to 28 U.S.C. §§1331 and §27 of the 1934 Act.

         14.        Venue is proper in this District pursuant to 28 U.S.C. §1391(b). A substantial amount

of the acts and omissions giving rise to the claims at issue occurred in this District. Acadia’s

corporate headquarters are located in this District and defendants are subject to personal jurisdiction

in this District.

         15.        In connection with the acts and omissions alleged in this complaint, defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, including, but not

limited to, the mails, interstate telephone communications and the facilities of the NASDAQ.

III.     PARTIES

         16.        Lead Plaintiff Chicago Laborers’ Pension Fund is a multi-employer defined benefit

pension plan with approximately $3.2 billion of assets. The Chicago Laborers’ Pension Fund

purchased Acadia publicly traded securities during the Class Period and has been damaged thereby,

as set forth in its certification attached hereto.

         17.        Lead Plaintiff New York Hotel Trades Council & Hotel Association of New York

City, Inc. Pension Fund (“NY Hotel Trades Pension Fund”) is a multi-employer pension plan with

approximately $1.7 billion of assets. The NY Hotel Trades Pension Fund purchased Acadia publicly

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traded securities during the Class Period and has been damaged thereby, as set forth in its

certification attached hereto.

        18.     Defendant Acadia is one of the largest publicly traded behavioral healthcare

companies in the country. Acadia stock trades under the ticker symbol “ACHC” on the NASDAQ,

an efficient market, and did so during the entirety of the Class Period. Acadia’s corporate

headquarters are located in Franklin, Tennessee. As of March 1, 2019, Acadia had over 88 million

shares of common stock outstanding.

        19.     Defendant Joey A. Jacobs (“Jacobs”) was Chairman of Acadia’s Board of Directors

(the “Board”) and its Chief Executive Officer (“CEO”) during the Class Period. Prior to joining

Acadia in February 2011, Jacobs co-founded Psychiatric Solutions, Inc. (“PSI”) and served as

Chairman, President and CEO of PSI from April 1997 to November 2010.                 On Sunday,

December 16, 2018, with no advance warning, Jacobs was fired by Acadia’s Board.

        20.     Defendant Brent Turner (“Turner”) was at all relevant times, Acadia’s President.

Prior to joining Acadia in February 2011, Turner served as the Executive Vice President of Finance

and Administration of PSI from August 2005 to November 2010, and as the Vice President,

Treasurer and Investor Relations of PSI from February 2003 to August 2005. On March 25, 2019,

Acadia announced that Turner had left the Company the week prior without naming a replacement.

        21.     Defendant David Duckworth (“Duckworth”) joined Acadia as Controller in April

2011 and became Chief Accounting Officer in January 2012 and Chief Financial Officer (“CFO”) in

July 2012.

        22.     The defendants referenced above in ¶¶19-21 are also referred to herein as the

“Individual Defendants” and are liable under §§10(b) and 20(a) of the 1934 Act for Acadia’s false

and misleading Class Period statements.



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        23.     During the Class Period, the Individual Defendants, as senior executive officers

and/or directors of Acadia, were privy to confidential, proprietary information concerning Acadia, its

finances, operations, financial condition, and present and future business prospects. The Individual

Defendants also had access to material adverse non-public information concerning Acadia, as

discussed in detail below. Because of their positions with the Company, the Individual Defendants

had access to non-public information about its finances, business, markets, products, and present and

future business prospects via internal corporate documents, conversations, and connections with

other corporate officers and employees, attendance at management and/or Board meetings and

committees thereof, and via reports and other information provided to them in connection therewith.

Because of their possession of such information, the Individual Defendants knew or recklessly

disregarded that the adverse facts specified herein had not been disclosed to, and were being

concealed from, the investing public.

        24.     The Individual Defendants are liable as direct participants in the wrongs complained

of herein. In addition, the Individual Defendants, by reason of their status as senior executive

officers and/or directors, were “controlling persons” within the meaning of §20(a) of the 1934 Act

and had the power and influence to cause the Company to engage in the unlawful conduct

complained of herein. Because of their positions of control, the Individual Defendants were able to

and did, directly or indirectly, control the conduct of Acadia’s business.

        25.     The Individual Defendants, because of their positions with the Company, controlled

and/or possessed the authority to control the contents of its reports, press releases, and presentations

to securities analysts and, through them, to the investing public. The Individual Defendants were

provided with copies of the Company’s reports and press releases alleged herein to be misleading,

prior to or shortly after their issuance, and had the ability and opportunity to prevent their issuance or



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cause them to be corrected. Thus, the Individual Defendants had the opportunity to commit the

fraudulent acts alleged herein.

        26.     As senior executive officers and/or directors and as controlling persons of a publicly

traded company whose stock was, and is, registered with the NASDAQ and governed by the federal

securities laws, the Individual Defendants had a duty to promptly disseminate accurate and truthful

information with respect to Acadia’s financial condition and performance, growth, operations,

financial statements, business, products, markets, management, earnings, and present and future

business prospects, and to correct any previously issued statements that had become materially

misleading or untrue, so that the market price of Acadia stock would be based upon truthful and

accurate information. The Individual Defendants’ misrepresentations and omissions during the

Class Period violated these specific requirements and obligations.

        27.     The Individual Defendants are liable as participants in a fraudulent scheme and

course of conduct that operated as a fraud or deceit on purchasers of Acadia securities. The scheme:

(a) deceived the investing public regarding Acadia’s business, operations and management, and the

intrinsic value of Acadia securities; and (b) caused plaintiffs and members of the Class (defined

below) to purchase Acadia securities at artificially inflated prices.

IV.     BACKGROUND TO DEFENDANTS’ FRAUDULENT STATEMENTS
        AND COURSE OF CONDUCT

        28.     Formed in 2005, Acadia Healthcare is a multinational provider of behavioral

healthcare services. As of December 31, 2018, Acadia operated a network of 583 healthcare

facilities with approximately 18,100 beds in 40 states, the U.K. and Puerto Rico. In the United

States, Acadia’s revenue is primarily funded through Medicaid and commercial sources. In the

U.K., Acadia’s revenue is primarily funded through the National Health Service (“NHS”) and other

publicly funded sources.


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        29.     Acadia’s facilities treat individuals at all stages of their lives – from young children to

adults and the elderly. Its facilities are categorized into seven groups: (1) inpatient treatment;

(2) residential treatment; (3) child and adolescent treatment; (4) drug and alcohol addiction

detoxification; (5) partial hospitalization treatment programs; (6) intensive outpatient programs; and

(7) medication-assisted treatment.

        30.     Acadia was founded by Waud and his company Waud Capital Partners. From 2005

to 2010, Waud acquired or opened six behavioral healthcare facilities. Thereafter, on March 16,

2011, Acadia announced that Jacobs would be joining the Company as its CEO.

        31.     Just two months later, on May 25, 2011, Acadia issued a press release detailing its

plan to buy Pioneer Behavioral Health (“PBH”) of Peabody, Massachusetts. At the time, PBH had

five inpatient facilities with approximately 270 beds in four states. The successful merger of the two

companies would ultimately be the result of a reverse merger whereby PBH, a public company,

would be acquired by Acadia, a private company. The reverse merger allowed Acadia to bypass the

lengthy and expensive process of a conventional initial public offering and go public relatively

quickly. Acadia’s Form S-4 filed with the SEC on July 13, 2011 affirmed that Acadia intended to

apply for listing of its securities to be issued in the merger on the NASDAQ and at the same time

Jacobs would become the Chairman and CEO of the combined company. Additionally, the merger

and shake-up of PBH allowed Jacobs to bring with him a crew of colleagues who had worked under

him at his previous company, PSI, including Turner, Ron Fincher, Jack Polson and Christopher

Howard.

        32.     Prior to joining Acadia, Jacobs was CEO of PSI, which he co-founded in 1997. PSI,

like Acadia, was in the business of providing behavioral healthcare. Starting with just five facilities,

Jacobs began a roll-up strategy at PSI using the same techniques alleged herein. From 2003 to 2008,

PSI grew to 95 facilities. At the same time, profits surged from $5 million to $76 million. By the

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mid-2000s, PSI filled more beds than any other chain and treated an estimated 8,800 patients a day.

However, as detailed below, Jacobs’ secret growth strategies included understaffing facilities, which

resulted in poor patient care and tumultuous environments filled with patient violence, sexual abuse

and death.

        33.     On November 23, 2008, the Los Angeles Times (“LA Times”) exposed PSI’s “well-

honed business formula” of cutting staff, filling beds and increasing profits. The LA Times

emphasized that “poor patient supervision, understaffing and inadequate worker training have led to

instances of chaos and brutality.” The egregious pattern of abuse and neglect reported by the LA

Times included PSI hospitals cited for patient deaths, a 19-year-old patient raped twice by a fellow

patient, and endless federal and state citations. Compared to other hospitals, PSI’s hospitals had

fewer registered nurses than other private psychiatric facilities and had about one-third fewer staffers

per bed. Chad Thompson, a previous employee of a PSI facility, stated that PSI’s growth strategy

was not a “‘client-centered approach. It’s a money-centered approach.’”

        34.     On July 17, 2008, the Chicago Tribune characterized PSI facilities as hospitals where

“violence festered in silence.” In addition to the cruelty reported by the LA Times, the Chicago

Tribune’s investigation demonstrated that “[a]dministrators at west suburban Riveredge Hospital and

government authorities failed to share basic information as the savage violence left some youth

worse off than when they arrived.” The article then goes on to detail patient rapes that were never

documented, failure by staff to maintain one-on-one observation on patients after several incidents of

sexual assault, “hospital administrators shoo[ing] away police,” and improper sedation of children

with powerful psychotropic drugs.

        35.     With millions of taxpayer dollars being poured into behavioral health care, and claims

of malpractice and neglect, the media spotlight on PSI caught the attention of several U.S.

congressmen, including former member Ronnie Shows. While speaking about fraud in the mental

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health and substance abuse sector, Congressman Shows in 2017 stated that a government analysis

determined Medicare fraud costs the American taxpayer over $50 billion a year and that when it

comes to healthcare fraud, “mental health and drug treatment programs are some of the worst

actors.” He then added: “One company with a problematic record [is] Psychiatric Solutions,

Inc. . . . .” Also in 2017, former U.S. Congressman Bart Stupak, writing in The Hill, identified PSI

as “an example of one bad actor that put profit ahead of care and was surely a questionable recipient

of taxpayer funds.”

        36.     In 2010, the U.S. Department of Justice (“DOJ”) also opened an investigation into

PSI. According to reports from the SEC, the DOJ was probing executive pay and demanded PSI’s

records related to executive salaries, stock sales, stock options and option exercises. A story

published by the Tennessean emphasized that the DOJ’s inquiry was triggered by the timing of PSI’s

compensation committee award to PSI’s top brass, including Jacobs, of tens of millions in options

and restricted stock grants while secretly engaging in conversations to sell the company.

        37.     All in all, PSI’s senior executives, the majority of whom followed Jacobs to Acadia,

granted themselves massive stock options and payouts before acknowledging they were putting PSI

on the auction block. The compensation packages resulting from their acquisition totaled more than

$200 million.

        38.     With the DOJ investigation, probes by major newspapers, and an enticing and sizable

compensation package dependent on the sale of PSI, the stage was set for Jacobs to jump ship. In

May 2010, Jacobs did just that when Universal Health Services (“UHS”) acquired PSI for $3.1

billion. The sale of PSI came one week before it was revealed in a filing with the SEC that the

company had been subpoenaed by the DOJ.

        39.     When UHS absorbed PSI, it inherited a host of issues and problems. As detailed by

PSI in its Form 10-Q for the quarterly period ended September 30, 2010, in October of 2010, PSI

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received a subpoena from the DOJ requesting certain documents regarding one of its inpatient

facilities in Philadelphia, Pennsylvania.

        40.     In addition, PSI was a party to seven putative class action complaints related to the

merger. The lawsuits alleged, among other things, that PSI’s directors put their personal interests

ahead of their stockholders’ interests and that PSI’s directors breached their fiduciary duties in

connection with the proposed merger by failing to maximize stockholder value. Further, certain of

the lawsuits asserted that various individual defendants would receive improper change-of-control

payments and merger consideration in connection with equity awards.

        41.     Having escaped the mounting investigations against PSI, and transferred liability to

UHS (certain of the investigations regarding former PSI facilities remain ongoing to this day),

Jacobs joined Acadia, bringing with him numerous members of PSI’s management team. Jacobs

repeated the PSI formula at Acadia, taking out debt, buying up facilities, firing staff, and generating

huge profits for himself and his team, all while assuring investors that “quality” and “doing the right

thing” would “absolutely [be] the first priority of [the] company.” In fact, nothing could have been

further from the truth.

        A.      While Defendants Claimed Acadia’s Growth Was Driven by Quality
                Care, It Ran Poor-Quality Facilities, Which Led to Disastrous
                Consequences for Patients

        42.     Acadia’s revenue is primarily derived from services rendered to patients for inpatient

psychiatric and substance abuse care, outpatient psychiatric care and adolescent residential

treatment. Patients are referred to Acadia by other health care providers, therapists and doctors.

Consequently, with a business model heavily dependent on referrals to fill beds, Acadia had to

convince the public that its facilities stationed across the nation were the preeminent centers to seek

treatment.



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        43.      Acadia consistently emphasized purportedly high-quality patient care in its Forms

10-K, 10-Q and 8-K filed throughout the Class Period. For example, in its “Overview” section,

Acadia stated:

                Our business strategy is to acquire and develop inpatient behavioral
        healthcare facilities and improve our operating results within our inpatient facilities
        and our other behavioral healthcare operations. We strive to improve the operating
        results of our facilities by providing high quality services, expanding referral
        networks and marketing initiatives while meeting the increased demand for
        behavioral healthcare services through expansion of our current locations as well as
        developing new services within existing locations.

        44.      Additionally, when describing its strategy of “[o]pportunistically pursu[ing]

acquisitions,” Acadia’s Forms 10-K describe the Company as having “established a national

platform for becoming the leading dedicated provider of high quality behavioral healthcare

services in the U.S.”

        45.      In the middle of the Class Period, at a JP Morgan Healthcare Conference, Acadia

described itself as a “consolidator of space” and not a “roll-up” company, as its main focus was

“acquiring and growing with M&A” while “immediately improving and enhancing the operations

that [it] acquired.” Toward the end of the Class Period, Acadia repeatedly emphasized that the

Company was “committed to providing the communities we serve with high-quality, cost-effective

behavioral healthcare services, while growing our business, increasing profitability and creating

long-term value for our stockholders.” In response to several shareholder proposals asking the

Company to prepare a report on environmental, social and governance (“ESG”) risks and

opportunities, including patient and worker safety, defendants claimed that one of the “core

elements” of Acadia’s business strategy was “creating behavioral health centers where people

receive individualized and quality care that enables them to regain hope in a supportive, caring

environment.” In addition, Acadia stressed that it was able to “leverage” its management team’s

expertise to “identify and integrate acquisitions based on a disciplined acquisition strategy that

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focuses on quality of service.” Even now, Acadia’s website claims that Acadia’s mission is to

“create a world-class organization that sets the standard of excellence in the treatment of specialty

behavioral health and addiction disorders” and that Acadia should be “synonymous with excellent

care, phenomenal customer service and an unparalleled commitment to our patients, staff,

physicians, and community.”

        46.     Furthermore, throughout the Class Period, defendants repetitively assured investors

that “[m]anagement believes that we are in substantial compliance with all applicable laws and

regulations and is not aware of any material pending or threatened investigations involving

allegations of wrongdoing.”

        47.     As described above, defendants consistently represented that Acadia facilities were

providing high-quality care to all of its patients and as a result the Company was well-positioned to

continue to acquire new operations and fill beds through its referral system. However, in stark

contrast to defendants’ public statements, Acadia’s tactics of acquiring facilities and then rapidly

cutting staff was generating alarming incidents of abuse, neglect, and on several occasions, death.

        48.     Such practices are consistent with an account of a former Acadia Director, who

oversaw several Acadia facilities in the Midwest during the Class Period and confirmed that Acadia

prioritized profits over patient care. The Director described chaotic conditions in certain Acadia

facilities, including: (i) failure to report adverse patient incidents to local authorities, and staff being

advised to keep problems in-house; (ii) manipulating state audits of patient charts to ensure the best

charts were being audited; (iii) providing treatment to patients who had not undergone an initial

evaluation; (iv) billing and collecting for reimbursements on procedures that a physician had not

approved; and (v) a patient death due to improper medical care.

        49.     Aware of these pervasive issues, Acadia has sought to destroy evidence of its

misconduct through draconian document destruction policies. Several former Acadia employees

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reported that during the Class Period, the Company instituted a policy whereby employee e-mails

were automatically deleted after 30 days unless employees took affirmative steps to preserve them.

                1.     Acadia Ran Understaffed, Unsafe and Low-Quality Healthcare
                       Facilities

        50.     From the beginning of the Class Period and even before, Acadia’s facilities were

fraught with a myriad of care and quality issues. Explicitly, staff cuts that left fewer employees

available to monitor patients permitted unsupervised patients to act out on suicidal tendencies,

facilitated patients to elope from the facilities, and allowed patients and staff to physically and/or

sexually abuse other patients. These and other incidents were cited by state and federal agencies and

resulted in Acadia facilities being fined, having their patient admissions put on hold, or being placed

in “Immediate Jeopardy” – the most serious facility deficiency that represents a situation in which

“entity noncompliance has placed the health and safety of recipients in its care at risk for serious

injury, serious harm, serious impairment or death.”

        51.     In 2017 alone, one particularly deficient facility, Harbor Oaks Hospital in New

Baltimore, Michigan had several reports of sexual and physical abuse, including a 15-year-old

autistic boy with no communication skills found with “claw marks” on his back, bruises, and open

flesh on his thighs. Staff at Harbor Oaks stated that they begged for help from their managers only

to be ignored or told to “zip it” and keep “quiet.” Additionally, a behavioral health associate stated:

“[Families] can’t go home and trust us that their loved one will be okay and bad things won’t happen

to them. We have so many patients and not enough staff.”

        52.     There are both federal and state laws that regulate and establish quantitative and

qualitative staffing requirements for hospitals and treatment centers. For example, CMS regulations,

which govern all Acadia facilities that accept Medicare or Medicaid, require hospitals to “have

adequate numbers of licensed registered nurses, licensed practical (vocational) nurses, and other

personnel to provide nursing care to all patients as needed. There must be supervisory and staff
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personnel for each department or nursing unit to ensure, when needed, the immediate availability of

a registered nurse for bedside care of any patient.”

        53.     Staffing in treatment centers like Acadia’s, which provide a wide range of mental and

behavioral health treatment services, requires various levels of accountability from its staff. In

addition to numerical minimums, where a fixed ratio of patients to staff is set, staffing must also take

into account the needs or “acuity” of the patient population. Acuity-based staffing measures the

intensity of nursing care required by a patient and thus regulates the number of nurses on a shift

according to the patients’ needs and not according to raw patient numbers. For example, a large

number of Acadia’s patients required one-on-one observation levels, which mandated that the patient

be in sight of the staff member at all times. In other situations, patients were set on observation

levels that required a staff member to check on their well-being every five minutes. Both of these

situations required increased staff based on acuity level.

        54.     Despite CMS regulations and state specific patient-to-staff ratios, Acadia facilities

were repeatedly cited for inadequate staffing that jeopardized patient and staff safety and

undermined quality of care. For example, in 2016, Oasis Behavioral Health Hospital was cited for

being so understaffed that it posed a risk to patient safety, with staff to patient ratios reaching 1:19.

        55.     Indeed, defendants’ policy of cutting staff to the bone resulted in pervasive and

systemic issues of inadequate staffing ratios across Acadia’s facilities. On October 14, 2015,

Longleaf Hospital in Alexandria, Louisiana was found to have a major staff deficiency. The facility

was placed in “Immediate Jeopardy” on October 8, 2015, when it was discovered that nurses failed

to assure that line-of-sight visual observation was maintained on patients in need of such

observation, there was no nurse available on a unit, and the facility “failed to ensure the hospital had

a system for determining the types and numbers of nursing personnel and staff necessary to provide

nursing care for all areas of the hospital as evidenced by having no policy developed for the staffing

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ratio of [staff] to patients.” In some instances, this lack of policy resulted in one mental health

technician being assigned to the observation of 10 to 11 patients who were ordered to be on line-of-

sight observation and one mental health technician assigned to observe 17 patients during their

outdoor break who were ordered to be on line-of-sight observation. Staff admitted that they were

“aware” of the “‘broken system’” of the hospital and that the hospital had “‘painted themselves in a

corner for having too many patients on line of sight.’” Further, the staff indicated that “since the

current owners [Acadia] acquired the hospital” they have grown and increased by 24 beds.

However, they were not aware if the staff was also increased to accommodate growth.

        56.     On January 13, 2016, Acadia Montana Treatment Center located in Butte, Montana

was cited by a state inspection report for not providing a safe environment for staff or patients. The

report emphasized that the facility had 132 patient assaults and 38 incidents of residents causing

property damage over a 13-week review period.

        57.     On July 26, 2016, Pacific Grove Hospital located in Riverside, California had patient

to staff ratios of 3:21. Inadequate staffing was a prevalent problem at Pacific Grove – a state

inspection report issued the next year on April 28, 2017 again identified understaffing as an issue,

highlighting that patient ratios were 4:29 or 3:24 over the review period.

        58.     Harbor Oaks Hospital located in New Baltimore, Michigan was so understaffed that it

was fined $13,500 by the Occupational Safety and Health Administration for not providing a safe

work environment. A former behavioral health technician stated that the Company “would rather

have more money than to make sure their staff was safe.” Patient-to-staff ratio at Harbor Oaks

during the review period was at one point 5:32. Harbor Oaks did not seek to resolve the inadequate

staffing issue, but instead, media investigations discovered that staff would inflate staffing levels

when watchdogs were on site and then cut nearly half of its staff right after the facility passed its

inspection.

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        59.     In 2018, Cedar Crest Hospital and Residential Treatment Center located in Belton,

Texas also failed to maintain appropriate staffing levels. Staff numbers were so low that employees

“begged” management for additional help at the facility. One staff member detailed that in order to

watch so many patients at one time, if a patient had to go to the bathroom, the patient was asked to

“‘keep the [bathroom] door cracked a little bit’” or told to “‘talk loudly or sing’” so that staff knew

they were ok. Another staff member stated: “‘There’s no staff. It’s not safe . . . . We’re always

short staffed. It’s stressful.’” The lack of staff at Cedar Crest forced interns to substitute for staff

coverage or required interns to run therapy sessions. One staff member even emphasized that “‘[t]he

CEO knows what is going on in this hospital. He knows we are understaffed. I’ve told him our staff

are burnt out to the hilt and they are super stretched.’” Additionally, staff admitted that they were

told to clock out for breaks they never took, instructed to fix charts for things that were never done

or were incomplete, and that staff had informed doctors that due to understaffing, line-of-sight orders

could not be done.

        60.     Given the severely understaffed nature of Acadia’s facilities, it is no surprise that

Acadia’s treatment centers created dangerous unmonitored environments that led to numerous

instances of patient abuse and multiple patient suicides.

                2.      Understaffing at Acadia’s Facilities Led to Numerous Horrific
                        Instances of Physical and Sexual Abuse

        61.     Defendants consistently reassured the investing public and analysts that their facilities

were appropriately staffed and that they were not suffering from any labor shortages compared to its

competitors. The truth was that defendants were actively cutting staff in its facilities, causing

shocking incidents of abuse.

        62.     Acadia has owned and operated Timberline Knolls, LLC (“Timberline”) since 2012.

Timberline is an inpatient facility located on 43 acres outside of Chicago in Lemont, Illinois and was

acquired at a cost of $75.6 million. The facility includes a state-approved school for adolescents and
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24-hour, 7-days-per-week medical care. Timberline is a female-only program and the treatment

center purportedly helps patients suffering from eating disorders, drug and alcohol addiction, mood

and anxiety disorders, and co-occurring disorders.

        63.     In 2018, several former patients of Timberline came forward and stated that they had

been sexually abused by Mike Jacksa, a therapist at the facility. The shocking accounts of sexual

abuse detailed in Lemont Police Department investigations reports include: inappropriate comments,

verbal abuse, inappropriate touching, forced oral sex, and the rape of multiple women during one-on-

one counseling sessions. Some of the women recounted being taken out of the main lodge at

Timberline and having counseling sessions in a small, locked luggage room, for which Jacksa had a

key. Another woman admitted that she would give herself friction burns so that she would be placed

on “constant observation” by staff and could avoid her counseling sessions with Jacksa. The

separate incidents all occurred between December 2017 and June 2018. None of the women gave

consent to Jacksa.

        64.     During the seven months that Jacksa terrorized women seeking refuge at Timberline,

staff at Timberline were told more than once about his behavior. Shockingly, however, Timberline

did not contact the police upon learning of Jacksa’s inappropriate actions. Instead, Jacksa was twice

suspended and twice reinstated before Timberline informed the authorities. When questioned by the

Lemont Police Department why staff at Timberline waited until August 7, 2018 to call police when

administrators were alerted to Jacksa’s inappropriate behaviors on July 16, 2018, Timberline staff

stated that they could only conduct “in-house” investigations pursuant to a corporate policy that staff

“have to contact corporate with these matters and corporate tells them to investigate and investigate

more before they are allowed to call police.” The investigating officer advised Timberline’s CEO

that “this has happened before at [Timberline] and that delayed reporting can greatly affect the

outcome of a criminal investigation. [The CEO] stated she understood but was bound by [Acadia’s]

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instructions and policies.” Jacksa now faces 62 felony counts of criminal sexual assault and criminal

sexual abuse, as well as one misdemeanor battery charge.

        65.     Acadia has owned and operated Park Royal Hospital in Fort Myers, Florida since

2012. The facility was acquired for $10.6 million and provides care to adults and seniors on both an

inpatient and outpatient basis. The services the hospital purportedly provides includes treating adult

and geriatric patients for depression, anxiety and mood disorders, memory issues, post-traumatic

stress disorders, and co-occurring mental health and substance abuse issues. Admissions to the

facility are made 24 hours a day, 7 days a week.

        66.     In July 2013, three women stated that they had been sexually assaulted by Benjamin

Bland, a staff member at the facility. One patient said she was sexually assaulted in her bathroom,

the second said Bland forced her to touch his genitals in a closet, and the third said Bland entered her

room and forced himself on her. Following these reports, eight additional women came forward

alleging that they too had been abused by Bland.

        67.     Police investigations into the matter revealed a string of defects by the facility. For

example, Bland claimed to be a licensed certified nursing assistant who worked as a home health

aide for a Fort Myers client with bipolar disorder. However, Bland was never employed as a home

health aide and Park Royal never contacted his reference. In addition, the facility never contacted

Bland’s previous employer, Dollar Tree, Inc. If they had, they would have learned that Bland was

fired for theft and accused of sexual harassment. Additionally, Bland had two prior arrests – battery

in 2009, where Bland admitted to choking his girlfriend, and theft in 2007. Depositions filed in a

lawsuit against the hospital reveal further missteps taken by Park Royal including the former human

relations director lying about screening Bland and the hospital’s internal investigator accused of

losing or lying about a key piece of video evidence.



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        68.     The alarming accounts of repetitive sexual and physical abuse at Timberline and Park

Royal were not two single occurrences carried out by two bad actors. Instead, defendants’

inadequate staff-to-patient ratios and lack of supervision made it possible for sexual and physical

abuse to occur rampantly across Acadia’s treatment centers.

        69.     Before the Class Period, in 2012, Oasis Behavioral Health located in Chandler,

Arizona had an undisclosed number of youths removed by Child Protective Services. Oasis had a

history of reports that alleged that youths were involved in sexual and physical misconduct. In 2009

to 2012 alone, the facility had at least nine instances in which staff members were alleged to have

been engaged in sexual misconduct with patients. The patients at Oasis range from 11 to 17 years of

age.

        70.     In 2014, a patient was forced to participate in a sexual act against his will by his

roommate at the Detroit Behavioral Institute, another Acadia facility. The lawsuit against the facility

states that youth residents were left alone in their rooms “unsupervised, unmonitored and without

any form of adult oversight.” As a direct result, the facility allowed adult and/or mature residents to

room with minor patients unsupervised and monitors failed to perform periodic checks on the

patients.

        71.     In 2013, a patient was abused by a staff member at the Ten Lakes Center located in

Dennison, Ohio. The incident occurred on May 20, 2013, however, an investigation was not

initiated until May 29, 2013. The facility’s failure to intervene allowed the staff member to work an

additional three days following the abuse.

        72.     In 2016, a patient was raped by another patient at Valley Behavioral Health System in

Barling, Arkansas. Due to “inadequate security and inadequate nursing personnel” a minor female

patient was pulled into a minor male patient’s room and assaulted. The lawsuit filed against the

facility alleges that Valley Behavioral did not send a nurse or personnel to check on the female

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patient and that, following the assault, told the victim that making up a story about rape could

damage the facility and nurses.

        73.     In 2016, Acadia Montana Treatment Center located in Butte, Montana was cited for

several deficiencies by the state. The report revealed incidents of residents reporting that staff was

watching pornography while on the premises, residents being pushed to the floor and attacked by

staff, 128 patient assaults, and 26 incidents of residents causing property damage. The report noted

that youth felt unsafe at the facility due to physical assaults by peers and lack of staff supervision.

        74.     In 2017, a 20-year-old patient at Harbor Oaks Hospital was assaulted on his first day

at the facility by his roommate. This same patient was later sexually assaulted by a different

roommate while sedated. This assault occurred despite assurances by staff to the patient’s mother

that frequent checks would be made to ensure the patient’s safety and comfort.

        75.     Between 2014 and 2015, a patient was repeatedly sexually assaulted by another

resident at Rolling Hills Hospital, located in Ada, Oklahoma. According to a lawsuit filed in 2017

against the facility, Acadia had knowledge of the sexual assaults as well as other assaults against

patients, but failed to report them to the police. After an investigation, all children under the

supervision of the Oklahoma Department of Human Services were removed from the home in July

2015.

        76.     Just recently, in March 2019, multiple lawsuits were filed against Acadia’s Desert

Hills facility located in Albuquerque, New Mexico leading to its permanent closure. The lawsuits

claim that during the Class Period, around the same time the state began investigating the facility in

2017, children were abused at the facility, young girls were beaten up, sex between staff and teen

patients occurred, and sex between patients themselves, some known to be HIV positive. All of

these incidents of abuse and neglect were linked to “a problem of understaffing, a problem taking

often times children they have no business in taking.” The New Mexico Children, Youth & Families

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Department stated: “Everyone agrees this is no longer the safe, appropriate place for kids.” The

facility’s website clearly states that “Desert Hills Hospital is no longer accepting patients and will be

closing 4/1/19.”

                3.      Understaffing and Substandard Care at Acadia Facilities Led
                        to Multiple Patient Deaths

        77.     During the Class Period, defendants repeatedly touted that they were improving and

bringing value to their new acquisitions. In reality, Acadia’s facilities were so understaffed that they

created toxic and unsupervised environments that permitted vulnerable patients to act out on suicidal

tendencies.

        78.     Park Royal Hospital, the facility that was already plagued by incidences of sexual

assault and rape as discussed above, was placed in “Immediate Jeopardy” in 2014 after a patient

committed suicide. The patient was initially admitted into the facility and placed on 15-minute

checks. However, at 9:00, 9:15 and 9:30, no checks were made on the patient. Instead, hospital

video shows the patient walking down the hallway carrying a patient gown into his bedroom. The

patient hanged himself with the patient gown.

        79.     In 2012, Acadia acquired Red River Hospital located in Wichita Falls, Texas. In

October 2014, Red River’s Medicare funding was terminated after being cited for numerous

deficiencies that led to a patient’s death. The report stated that deficient practices “[c]reated an

Immediate Jeopardy situation resulting in the death of patient No. 6, and the likelihood of serious

harm, injury, impairment, or death to all patients receiving care at this hospital.”

        80.     In 2016, a patient who was under mandatory five-minute checks was found hanging

in her bedroom at Sonora Behavioral Health Hospital located in Tucson, Arizona. Sonora was

acquired by Acadia in 2012 and provides treatment services for children, adolescents, and adults

recovering from behavioral health conditions and chemical dependency issues. The patient was

admitted to the hospital suffering from impaired judgment, uncontrolled risk taking, and a high risk
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of self-harm. Upon admittance, the patient was on Observation Level Q15, which required checks

on her well-being every 15 minutes. Less than four hours after being admitted, the patient’s

observation level was changed to five-minute checks. The next morning, between 7:50 a.m. and

8:50 a.m., no checks were made on the patient by a staff member. Instead, the only nurse assigned

to the unit left to get coffee. The patient was found unresponsive and pulseless, hanging from the

doorframe of her bathroom door.

         81.    Seven Hills, which is located in Henderson, Nevada, was acquired by Acadia in 2011

and cares for adolescents and adults suffering from mental health issues, alcoholism and drug abuse.

In 2015, a patient checked herself into Seven Hills for alcohol addiction and abuse. As part of her

treatment, the patient was prescribed a combination of morphine, triazapam and temazapam. Just six

days after voluntarily checking herself in, the patient was found dead in her room. The wrongful

death lawsuit against Seven Hills alleges that the facility failed to conduct timely patient checks and

that its breaches of the appropriate standard of care served as the actual and proximate cause of her

death.

         82.    In July 2016, Sierra Tucson, a facility that treats mental health disorders, substance

abuse, trauma/post-traumatic stress disorder and eating disorders, was fined for failing to care for its

most seriously ill psychiatric patients. The state investigation demonstrated that five Sierra Tucson

patients had died since 2011 – three of them by suicide. One of the patients who committed suicide

in 2015 was admitted into Sierra Tucson seeking help and treatment for depression and debilitating

neuropathy pain. On the day of his death, the patient was assigned to one-on-one observation.

Despite the high supervision level assigned to the patient, the patient missed all five of his morning

appointments, but staff failed to look for him. The patient took his own life that same day.

         83.    Ascent Children’s Health Services Facility located in West Memphis, Arkansas was

acquired by Acadia in 2011. In June 2017, a five-year-old boy died after being left inside a hot van

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with a disabled safety alarm. According to authorities, temperatures inside of the van could have

reached as high as 141 degrees. Staff had misrepresented on documents that the young boy had been

taken inside. Just a year later, in September 2018, Ascent said it would close three of its facilities

located in Arkadelphia, North Little Rock and West Memphis. Less than a month later, Ascent said

it would close its remaining seven sites as well.

        84.     In 2018, a young woman committed suicide while under the purported supervision of

staff at Timberline, a facility already plagued by incidents of sexual abuse, as detailed above. The

patient left Timberline during her intake interview and committed suicide in a nearby hotel shortly

thereafter. Timberline staff failed to call the police until five hours after the patient left the center,

according to a DuPage County 911 recording. The lawsuit filed by the patient’s family alleges that

Timberline failed to properly secure the premises, failed to properly monitor the premises through

use of video surveillance, allowed her to elope (escape) the facility, and was otherwise careless and

negligent.

        85.     Throughout the Class Period, defendants touted their commitment to “improv[ing]

operating results” in Acadia’s facilities and “providing high quality services.” On numerous

occasions, Jacobs assured investors that Acadia’s facilities were “appropriately staffed.” As detailed

above, defendants’ public statements were belied by pervasive, systemic, and egregious abuse and

neglect occurring throughout Acadia’s facilities.

        B.      After Significantly Expanding the Company’s Operations and
                Touting Expected Revenue Growth in the U.K., Defendants Sold Tens
                of Millions of Dollars of Acadia Stock Before Admitting the
                Underperformance of Its U.K. Facilities

                1.      Acadia Acquires Its First U.K. Facilities in 2014 and
                        Significantly Expands Its U.K. Presence in 2016

        86.     By March 2014, after three years of management’s acquisition-driven growth

strategy, Acadia had grown to 52 facilities with 4,200 beds across the United States. Nevertheless,

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the Company continued to publicly state that it would pursue acquisitions in the M&A market, and

in 2014 Acadia branched out overseas.

        87.     In July 2014, Acadia completed its acquisition of U.K.-based Partnerships in Care

(“PiC”) for approximately $662 million in cash.         At the time, PiC was the second-largest

independent provider of inpatient behavioral healthcare services in the U.K., with 23 inpatient

psychiatric facilities and over 1,200 beds.

        88.     The PiC acquisition was Acadia’s first entry into a foreign market, but the Company

would waste no time increasing its U.K. presence. In the year following the PiC acquisition, Acadia

completed 6 additional acquisitions in the U.K. for 22 facilities with over 500 beds. By the end of

Q2 2015, the Company was operating 45 facilities with over 1,800 beds in the U.K.

        89.     All the while, defendants claimed that Acadia had plenty of room to grow in the

U.K.’s $22 billion behavioral health market. In its Forms 10-K for fiscal years 2015 through 2017,

the Company consistently described the “[f]avorable industry and legislative trends” in the U.K. as

one of Acadia’s “competitive strengths”:

        As a result of government budget constraints and an increased focus on quality, the
        independent mental health hospitals market has witnessed significant expansion in
        the last decade, making it one of the fastest growing sectors in the U.K. healthcare
        industry. Demand for independent sector beds has grown significantly as a result of
        the National Health Service (the “NHS”) reducing its bed capacity and increasing
        hospitalization rates. Independent sector demand is expected to further increase in
        light of additional bed closures and reduction in community capacity by the NHS.

        90.     Acadia’s Forms 10-K also discussed the U.K. Department of Health’s emphasis on

quality of care a driver of industry growth:

        The U.K. Department of Health recently identified priorities for essential change in
        mental health that include, among other things, funding providers based on the
        quality of their service rather than volume of patients, allocating funds to support
        specialized housing for people with mental health problems and adopting a new
        rating system and inspection process to improve the quality of care. Increasing
        political focus on the provision of mental health services in the U.K. and increasing
        support for the rights of mental health patients are expected to lead to further
        increases in the size of the mental health market in the U.K. In addition, rising
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        demand for mental health services in the U.K. coupled with a constrained mental
        healthcare funding environment are increasing pressure to improve operational
        efficiency and refer patients to single provider programs with care pathways that
        more appropriately reflect each patient’s specific mental health needs. As a result of
        these pressures and an increased focus on quality, the independent mental health
        market has witnessed significant expansion in the last decade, making it one of the
        fastest growing sectors in the U.K. healthcare industry.

        91.       In February 2016, Acadia completed its acquisition of U.K.-based Priory for

approximately $2.2 billion in cash and stock consideration. At the time, Priory was the largest

independent provider of behavioral healthcare services in the U.K., with 327 facilities and

approximately 7,100 beds. Following the acquisition of Priory, Acadia had 381 inpatient facilities

with approximately 9,300 beds in the U.K. Defendants also announced that the Company would

achieve $20 million in cost-cutting “synergies” from the integration of Priory once the U.K.’s

Competition and Markets Authority (“CMA”) fully approved the merger.

        92.       In July 2016, Acadia announced that the CMA had finished its initial Phase 1 merger

review, and had decided to conduct a more-detailed Phase 2 investigation into the Priory acquisition.

In order to resolve the CMA’s competitive concerns with the transaction, Acadia undertook to sell

21 of its existing U.K. facilities and 1 de novo facility for approximately $390 million in cash

consideration. In November 2016, the CMA approved of this divestiture and did not refer the Priory

transaction for a further Phase 2 investigation.

        93.       As of December 31, 2016, following the completion of the Priory acquisition and

CMA-approved divestiture, Acadia maintained 365 inpatient behavioral healthcare facilities with

approximately 8,600 beds in the U.K. At the same time, Acadia maintained only 208 behavioral

healthcare facilities and approximately 8,500 beds in the United States. Hence, by the start of 2017,

the Company’s overall economic performance was heavily skewed to the performance of its U.K.

facilities.



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                2.     Acadia’s Priory Facilities Receive Negative U.K. Media
                       Attention in 2017 from Failed Inspections and Multiple
                       Inquests into Patient Deaths

        94.     In the first half of 2017, at the same time that the Company was becoming ever-more

dependent on the performance of its U.K. facilities, those same Priory facilities were receiving ever-

increasing scrutiny from U.K.-based media on their poor safety and quality of care.

        95.     For instance, on January 22, 2017, The Times published an article entitled “Deaths

spark care fears at Priory hospitals,” which reported:

                Coroners have issued five formal notices over the past five years highlighting
        care failures after deaths of patients in the care of the Priory Group’s hospitals.

                Among the recurring problems highlighted in the coroners’ “prevention of
        future death notices” are a failure adequately to monitor patients at risk of self-harm,
        failures in training and inadequate record keeping.

               They are the latest in a series of incidents that has raised concerns about
        the welfare of patients, both private and NHS, at Priory hospitals.

        96.     On March 14, 2017, the independent regulator Care Quality Commission (“CQC”)

published a quality report on the Priory Hospital Roehampton – Priory’s flagship hospital and

namesake – finding the safety of the hospital’s services to be “Inadequate.” Numerous media outlets

immediately reported on this story, including The Guardian, BBC News and The Times. As

described by The Times in an article published the following day entitled “Priory hospital criticised

as unsafe after suicides”:

               One of Britain’s leading mental health providers has been criticised by
        regulators for “inadequate” safety at its flagship hospital.

                The Priory in Roehampton, southwest London, has been under scrutiny since
        a series of patient suicides and self-harming incidents last year.

                Concerns were raised by the Care Quality Commission (CQC) about unsafe
        staffing levels and bosses have received an official warning notice.




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        97.     On May 2, 2017, BBC News reported on the results of another public inquest2 in an

article entitled “Priory’s care plan for anorexic teen . . . ‘inadequate.’” The article reported: “The

jury returned a conclusion of suicide but found the care plan when Ms. McManus was discharged

was inadequate and there was not enough communication with the family about her suicide risk.”

        98.     Several other inquests into patient deaths at Priory facilities revealed similar failures

in care, as reported in March and July 2017. And in an August 21, 2017 “report to prevent future

deaths” made pursuant to the U.K.’s Coroners and Justice Act of 2009, another coroner similarly

reported an inquest jury’s findings that a patient’s death was “contributed to by neglect” due to

Priory staffing and policy failures.

                3.      Defendants Overstate the Expected Performance of Acadia’s
                        U.K. Operations, Then Sell Tens of Millions of Dollars in Stock
                        Prior to Announcing a Major Q3 2017 Earnings Miss

        99.     Despite ongoing scrutiny from media and regulators in the U.K. – where the NHS

prioritizes “funding providers based on the quality of their service” – defendants repeatedly told

investors throughout 2017 that the Company’s weakening U.K. metrics would improve to meet the

Company’s 2017 financial guidance.

        100.    Defendants first issued their FY 2017 financial guidance in a February 23, 2017

release, as follows:

               Revenue for 2017 in a range of $2.85 billion to $2.9 billion;

               Adjusted EBITDA for 2017 in a range of $625 million to $640 million; [and]

               Adjusted earnings per diluted share for 2017 in a range $2.40 to $2.50.

        101.    In the same release, defendants disclosed that for Q4 2016 the Company’s same

facility revenue in the U.K. grew 4.2%, but that they believed these U.K. results were out of the

2
   An “inquest” in the U.K. is an official fact-finding inquiry into the circumstances surrounding an
unusual or unexplained death. These public proceedings are carried out by a coroner before a jury
and allow for the presentation of evidence and witnesses.

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ordinary due to “disruption throughout the fourth quarter resulting from the focus, time and effort

required to complete the divestiture in late November and to begin the integration of Priory’s

operations into Acadia.”

        102.      On the earnings call the next day, defendants stressed that Acadia expected higher

revenue numbers from the U.K. facilities, and that “as the census recovers, and as we are able to

move forward with the integration and put the new management structure in place we will see both

the census rebound and the growth rebound, as well as the margin improvement in the UK.”

        103.      On April 25, 2017, upon releasing the Company’s Q1 2017 earnings results,

defendants announced that same facility revenue growth for U.K. facilities had slowed to 2.6%.

Nevertheless, the Company affirmed its previously established financial guidance for FY 2017.

        104.      On the earnings call the next day, defendants continued to assure investors that

despite the softer U.K. numbers, the Company would hit its guidance and “over the course of the

year, as the integration is completed that we should see the growth pick up in the U.K.”

        105.      On July 27, 2017, upon releasing the Company’s Q2 2017 earnings results,

defendants announced that same facility revenues at U.K. facilities had increased 4.0%. Defendants

also narrowed their previously established financial guidance for FY 2017:

             FY 2017 Guidance             Narrowed From                           To
                                         (February 23, 2017)                (July 27, 2017)
            Revenue                  $2.85 billion to $2.9 billion   $2.85 billion to $2.87 billion
            Adjusted EBITDA         $625 million to $640 million     $629 million to $635 million
            Adjusted earnings              $2.40 to $2.50                   $2.42 to $2.47
            per diluted share

        106.      On the earnings call the next day, defendants repeatedly denied that there was

anything to read into the narrowing of the guidance and continued to stress that the Company would

see “incremental improvements through the U.K. over the balance of the year.”



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        107.      In August 2017, Acadia conducted a follow-on offering where the Individual

Defendants and Acadia insiders sold over $100 million in stock – with Jacobs and Turner collecting

more than $35 million while cutting their holdings by more than half.

        108.      Only after the Individual Defendants were able to collect tens of millions of dollars in

insider sales did the true effect of Acadia’s underperforming U.K. facilities come to light. On

October 24, 2017, upon releasing the Company’s Q3 2017 earnings results, defendants announced

that same facility revenue growth for U.K. facilities had slowed to 3.8%. Shocking investors,

defendants also announced that it was officially lowering its FY 2017 financial guidance:

             FY 2017 Guidance               Lowered From                             To
                                            (July 27, 2017)                   (October 24, 2017)
            Revenue                   $2.85 billion to $2.87 billion     $2.82 billion to $2.83 billion
            Adjusted EBITDA           $629 million to $635 million       $600 million to $605 million
            Adjusted earnings                $2.42 to $2.47                      $2.23 to $2.25
            per diluted share

V.      DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
        STATEMENTS AND OMISSIONS

        109.      During the Class Period, defendants materially misled investors, thereby inflating the

price of Acadia securities, by publicly issuing false and misleading statements and omitting to

disclose material facts necessary to make defendants’ statements not false and misleading.

        110.      First, defendants misled investors about Acadia’s U.S. operations, and specifically the

quality of care, staffing levels and regulatory compliance at its facilities. Second, defendants misled

investors about the performance, and expected future performance, of Acadia’s U.K. operations,

which repeatedly failed to meet the financial targets defendants assured investors they would meet.




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        A.      False and Misleading Statements and Omissions Regarding Acadia’s
                U.S. Operations

                1.     Defendants Made Misrepresentations and Omissions
                       Regarding the Quality of Care Offered at Acadia’s Facilities

        111.    Throughout the Class Period, defendants repeatedly emphasized that offering quality

care was fundamental to Acadia’s success, and that its facilities provided high-quality care that

would drive Acadia’s future success. In reality, however, Acadia prioritized bed growth and cost

cuts at its facilities over quality patient care, resulting in rampant adverse patient events throughout

the Class Period.

        112.    Acadia consistently touted its “high-quality services” as a key factor in improving its

operating results in its Forms 10-K, signed by Jacobs and Duckworth, and in its Forms 10-Q, signed

by Duckworth:

                Our business strategy is to acquire and develop inpatient behavioral
        healthcare facilities and improve our operating results within our inpatient facilities
        and our other behavioral healthcare operations. We strive to improve the operating
        results of our facilities by providing high quality services, expanding referral
        networks and marketing initiatives while meeting the increased demand for
        behavioral healthcare services through expansion of our current locations as well as
        developing new services within existing locations.3

        113.    Throughout the Class Period, Acadia also stressed in its Forms 10-K that the

Company’s growth strategy based on strategic acquisitions emphasized quality of service:

               Management believes our focus on behavioral healthcare and history of
        completing acquisitions provides us with a strategic advantage in sourcing,
        evaluating and closing acquisitions. We leverage our management team’s expertise

3
    This statement was included in the Company’s Forms 10-K for: FY 2014, filed on February 27,
2015; FY 2015, filed on February 26, 2016; FY 2016, filed on February 24, 2017; and FY 2017,
filed on February 27, 2018. This statement was also included in the Company’s Forms 10-Q for: Q1
2014, filed on April 30, 2014; Q2 2014, filed on July 30, 2014; Q3 2014, filed on October 30, 2014;
Q1 2015, filed on April 29, 2015; Q2 2015, filed on August 5, 2015; Q3 2015, filed on November 4,
2015; Q1 2016, filed on April 29, 2016; Q2 2016, filed on July 29, 2016; Q3 2016, filed on
November 2, 2016; Q1 2017, filed on April 26, 2017; Q2 2017, filed on July 28, 2017; Q3 2017,
filed on October 25, 2017; Q1 2018, filed on May 3, 2018; Q2 2018, filed on July 31, 2018; and Q3
2018, filed on November 6, 2018.

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        to identify and integrate acquisitions based on a disciplined acquisition strategy that
        focuses on quality of service, return on investment and strategic benefits. We also
        have a comprehensive post-acquisition strategic plan to facilitate the integration of
        acquired facilities that includes improving facility operations, retaining and recruiting
        psychiatrists and other healthcare professionals and expanding the breadth of services
        offered by the facilities.4

        114.    The Forms 10-K and Forms 10-Q referenced at ¶¶112-113, supra, contained

certifications pursuant to the Sarbanes-Oxley Act of 2002 (“Sarbanes-Oxley”) signed by Jacobs and

Duckworth, who certified that they had reviewed the Forms 10-K and Forms 10-Q and that they

contained no materially untrue statements or omissions, fairly represented in all material respects the

financial condition of Acadia, were accurate in all material respects, and disclosed any material

changes to the Company’s internal control over financial reporting. Jacobs and Duckworth also

attested that they had designed disclosure controls to ensure that material information relating to

Acadia was made known to them.

        115.    On July 30, 2014, Acadia held a conference call with Jacobs, Turner and Duckworth

to discuss the Company’s Q3 2014 financial results. On the earnings call, Jacobs claimed that the

Company’s strong same facility performance for the quarter “reflect[ed] [a] growing demand for

high-quality inpatient behavioral healthcare.”

        116.    On October 30, 2014, Acadia held a conference call with Jacobs, Turner and

Duckworth to discuss the Company’s Q3 2014 financial results. Jacobs ended the earnings call by

assuring investors that the Company prioritized the quality of its behavior health services: “Thank

you all very, very much and always keep quality, doing the right thing, that is absolutely the first

priority of this company is doing that. So once again, see you at the end of the fourth quarter.”




4
   This statement was included in the Company’s Forms 10-K for: FY 2013, filed on February 21,
2014; FY 2014, filed on February 27, 2015; FY 2015, filed on February 26, 2016; FY 2016, filed on
February 24, 2017; and FY 2017, filed on February 27, 2018.

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        117.    On November 11, 2014, Jacobs, Turner and Duckworth presented to investors,

analysts and market participants at the Stephens Fall Investment Conference on behalf of Acadia. In

discussing the risks Acadia faced from its recently announced acquisition of CRC Health Group, Inc.

(“CRC”), Duckworth emphasized that preventing patient incidents was a top priority:

                As with [the] whole Company, you know, we want to deliver good, quality
        care and not have any bad incidents. So that is always the greatest risk to us is a
        bad incident occurring. We try everything we can to keep that from happening, but
        knowing our industry that happens.

        118.    On May 12, 2015, Jacobs and Turner gave a presentation to investors, analysts and

market participants at the Bank of America Merrill Lynch Health Care Conference on behalf of

Acadia. In his prepared remarks, Jacobs touted Acadia’s organizational structure and quality control

as a secret to the Company’s success:

        This is our secret to success, these green boxes, these division structures. The
        accountability, responsibility, the freedom we give those division presidents and
        those local CEOs of our company, putting in that our clinical departments, our
        oversight of the quality, just absolutely is the secret to our success. Absolutely the
        secret to our success.

        119.    On June 2, 2015, Jacobs and Turner gave a presentation to investors, analysts and

market participants at the Jefferies Global Healthcare Conference on behalf of Acadia. When

questioned about the Company’s successful history in increasing profit margins at its facilities,

Turner insisted that the Company’s efforts for increased profitability did not come at any expense of

the quality of care:

                [Brian Tanquilut – Jefferies Analyst:] Last question for me. So as we think
        about margins, I mean you guys have done a great job pushing margins higher on a
        same store basis. So is that something that we think should keep going? How should
        we think about your margins? Or is it something that has a cap or a regulator
        internally?

               [Turner:] I think the margins are going to settle in around 27%, give or take
        100 basis points. And now that our same store base is getting so large and more –
        and the UK were PiC will drop in the third quarter into the same store, I think our
        margin’s going to be in that 27% range. And that’s where it should be. I think it’s

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        where it’s going to be with us providing great quality care at the local level. So
        that’s what I see on margins.

        120.    On September 9, 2015, Jacobs and Turner presented to investors, analysts and market

participants at the Wells Fargo Healthcare Conference on behalf of Acadia. In response to a

question regarding Acadia’s efforts to minimize adverse patient events, Jacobs reiterated that patient

care was the Company’s first priority:

              [Audience Member:] Generally speaking or broadly, how do you try to
        minimize adverse patient event at your facilities?

                 [Jacobs:] Well, we have a robust clinical risk management department at
        the corporate office, but this is the primary responsibility of the CEO, his medical
        staff, or their medical staff, and our employees at the local level; that is their job, take
        care of the patient. And we can provide corporate resources to assist you in that and
        can do benchmarking and trending and point out areas for improvement, but at the
        end of the day, it’s the responsibility of the CEO of that facility to make sure the
        quality of care is there. And throughout the Company, our CEOs (inaudible) on
        the side of good patient care is that take care of our patients first.

        121.    On April 8, 2016, Acadia filed a Definitive Proxy Statement on Schedule 14A with

the SEC, which included a stockholder proposal from Calvert Investment Management, Inc.

(“Calvert”) requesting that the Company prepare a sustainability report describing the Company’s

ESG risks and opportunities, including patient and worker safety. In opposing the proposal,

Acadia’s Board claimed the Company “conduct[s] [its] business in compliance with applicable law

including environmental, health and safety regulations, and we work hard to be an exceptional

employer, a good neighbor and a good citizen.” Instead, the Board suggested it would be best to

focus resources on the “core elements” of the Company’s business strategy, which included:

               creating a world-class organization that sets the standard of excellence in the
                treatment of specialty behavioral health and addiction disorders;

               creating behavioral health centers where people receive individualized and
                quality care that enables them to regain hope in a supportive, caring
                environment;




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                 offering an enviable internal culture and environment that encourages and
                  supports both professional and personal growth that our employees are proud
                  of; and

                 developing partnerships with physicians, professionals, and payers within the
                  communities we serve through the delivery of high quality specialty
                  behavioral health services at affordable costs while always putting the
                  patient first.5

        122.      On June 9, 2016, Jacobs and Turner presented to investors, analysts and market

participants at the Jefferies Healthcare Conference on behalf of Acadia. In his introductory remarks,

Jacobs once again stressed the importance of quality care for the patients admitted to Acadia’s

facilities:

                As you’ve seen from our first-quarter results, our organic same-store growth
        was industry-leading if you’re in the hospital sector, and we’re very proud of what
        Ron Fincher and his team have done and what we are doing out in the field. So the
        Company is in, we think, a great position and doing well. It is hard work. We do
        take care of a lot of patients, and that is our number one goal is taking care of the
        patients, making sure they are receiving the quality care that they need, and we
        very much want to do that. I know our employees are dedicated to that, and our
        Company is improving the lives we touch. So there’s a lot of people we touch when
        we touch a family’s life.

        123.      On February 22, 2017, Jacobs and Turner presented to investors, analysts and market

participants at the RBC Capital Markets Healthcare Conference on behalf of Acadia. In response to

an audience question concerning efficacy of care, Jacobs insisted that the Company’s quality and

compliance compartment tracked the efficacy of the care provided to Acadia patients:

               [Audience Member:] Thanks. One of those questions raised in the negative
        headlines I think talked about efficacy of care. And do you guys track efficacy and
        do you think the industry should track efficacy? Are people actually getting cured
        when they come in versus (inaudible)?

               [Jacobs:] We can do a better job. Now, unfortunately, the psychiatric
        industry has been discriminated for years. And when the federal government gave


5
   These exact statements were repeated the following year in Acadia’s April 13, 2017 Definitive
Proxy Statement, in opposition to Calvert’s renewed stockholder proposal for an ESG sustainability
report.

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        out all this money for to – for med/surg hospitals to improve their computer systems,
        we got nothing.

               So if we had gotten some money and was able to invest in our computer
        systems, we would be able to track that better. We are investing in that, but it is
        more manual than it is computerized. And we have a department headed up by Scott
        Schwieger that our quality and compliance department that does nothing but look at
        this.

               And so some parts of our business are easier to follow up and to see about the
        cure. Obviously if somebody represents themselves, the first one didn’t work.

        124.    On May 16, 2017, Jacobs and Turner presented to investors, analysts and market

participants at the Bank of America Merrill Lynch Healthcare Conference on behalf of Acadia.

When questioned about ongoing concerns of labor shortages in the behavioral healthcare space,

Jacobs assured that Acadia maintained adequately staffed facilities to provide quality care amid

Acadia’s expansionist growth strategy:

        [Kevin Fishbeck – BofA Merrill Lynch Analyst:] I guess, obviously, one of the hot
        button issues for this sector has been the question of labor shortages. And can you
        just talk about what you’re seeing there, whether it’s been, I guess, either an issue
        from a margin perspective or whether it’s been an issue from – a gating issue from a
        growth perspective for you guys?

               [Jacobs:] We’ve been very fortunate in that our shortages occur in very
        unique locations, very isolated locations. Actually, on the bus tour, the question
        was asked from a crowd about psychiatrists, and they have plenty; and then also
        asked about nurses, and they have plenty. And so we expect our facilities to be in
        communities that have nursing teaching programs, to have the nurses coming through
        our facilities learning about psych patients, that if there’s psychiatrist medical
        schools there, you’ll see us joint-venturing with medical schools. We already have
        one with Einstein. We’ll be having one with the University of Miami, whether we’ll
        have one with the Ochsner group in Louisiana. So we’ve been able to find
        psychiatrists. We have a robust recruitment department, and we saw some of this
        pressure probably 4 to 5 years ago and began ramping that up, so we can meet the
        needs to continue to grow. And based upon our growth numbers, we’re meeting
        the needs and providing good quality care.

        125.    On May 24, 2017, Jacobs and Turner presented to investors, analysts and market

participants at the UBS Global Healthcare Conference on behalf of Acadia. In his prepared remarks,

Turner again stressed the importance of Acadia’s quality assurance practices:


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                In addition to the just oversight of our facilities from an operational and
        financial standpoint, we have overlay of our clinical services, headed up by our Vice
        President of Clinical Services. And these individuals are highly trained in the
        behavioral health field and help assess our facilities and make sure all the quality and
        assurances are being adhered to, little checks and balances. We have similar quality
        insurance (sic) [assurance] personnel at the facility level. But we want to also make
        sure from a corporate level, we are ensuring that we’re delivering good patient
        care in our facilities.

        126.    On June 8, 2017, Jacobs and Turner presented to investors, analysts and market

participants at the Jefferies Healthcare Conference on behalf of Acadia. In response to an analyst

question regarding the Company’s efforts to maintain appropriate staffing levels, Turner stressed that

Acadia secures the necessary mental health staff to support the Company’s expected growth:

               [Brian Tanquilut – Jefferies Analyst:] Brent, just to follow on to that, what’s
        your thought on staffing, your ability to staff these new beds as you’re adding? And
        how are you – where’s the confidence coming from that you can keep staffing at sort
        of a 6% to 7% organic growth rate?

                 [Turner:] Well, as Joey mentioned, we’ve been at this since 2011 with
        Acadia, and we’ve shown very strong organic growth throughout those 6 straight
        years. When you’re showing that in our business, the requirement as you add these
        patients is that there would be appropriate – the staffing is going to incrementally add
        with those – that addition of patients. So our confidence is much like in how we’re
        confident about the volume coming. We work hard to capture the volume, we work
        hard to recruit the staff, the nurses, the mental health techs, the physicians,
        whatever we need to cover that additional unit, we’re working on that in advance,
        at both at the local hospital level as well as our (technical difficulty) designed to
        source employees. But I think ultimately, the best thing about our confidence in
        getting the employees is we have the right culture and we have the right sort of
        morale at our company. I think we’re a good place to work, a great place to work.
        And so if someone is desiring to care for the patient population that we care for, and
        it’s the mental health – people with mental health needs, then they’re going to find
        Acadia’s facilities. And they know at the end of the day, we’re doing nothing but
        trying to make sure we’re improving the lives of those patients that are in our care.
        And that’s what we believe in, and that’s how we have the confidence that we’re
        going to be able to continue to access the labor to support our growth.

        127.    On June 9, 2017, Acadia filed with the SEC a Form S-3ASR registration statement

and prospectus, signed by Jacobs and Duckworth, using a “shelf” registration. Under the shelf

registration, Acadia securities could be sold in various future prospectus supplements, which would

form part of the registration statement for each offering. The Form S-3ASR incorporated by
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reference the statements in the FY 2016 Form 10-K and Q1 2017 Form 10-Q alleged herein at

¶¶112-113, supra, to be false and misleading, and stated in pertinent part:

        INCORPORATION OF CERTAIN DOCUMENTS BY REFERENCE

                 The SEC allows us to “incorporate by reference” information into this
        prospectus, which means that we can disclose important information to you by
        referring you to another document filed separately with the SEC. The information
        incorporated by reference into this prospectus is deemed to be part of this prospectus,
        except for any information superseded by information contained directly in this
        prospectus or contained in another document filed with the SEC in the future which
        itself is incorporated into this prospectus.

               We are incorporating by reference the following documents, which we have
        previously filed with the SEC:

                (1)    our Annual Report on Form 10-K for the fiscal year ended
                       December 31, 2016;

                (2)    our Quarterly Report on Form 10-Q for the three months ended
                       March 31, 2017;

                (3)    our Current Reports on Form 8-K filed May 10, 2017 and May 25,
                       2017;

                (4)    the information specifically incorporated by reference into our
                       Annual Report on Form 10-K for the fiscal year ended December 31,
                       2016 from our Definitive Proxy Statement on Schedule 14A filed
                       with the SEC on April 13, 2017; and

                (5)    a description of our capital stock as set forth in our Registration
                       Statement on Form 8-A, filed on October 31, 2011.

        128.    On August 18, 2017, Acadia filed with the SEC a Form 424B7 prospectus

supplement to the June 9, 2017 prospectus for a follow-on offering of more than 2.8 million shares

of Acadia common stock. The August 18, 2017 prospectus supplement incorporated by reference

the same documents as the June 9, 2017 prospectus, i.e., the FY 2016 Form 10-K and Q1 2017 Form

10-Q alleged herein at ¶¶112-113, supra, to be false and misleading.

        129.    The statements set forth in ¶¶112-128, supra, were materially false and misleading or

omitted material information necessary to make them not misleading for the following reasons that

were unbeknownst to investors:
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                (a)    Acadia did not “strive to improve the operating results of [its] facilities by

providing high quality services,” but instead focused on a growth strategy driven by bed expansion,

and cost cutting – at the expense of adequately staffing and servicing the Company’s existing

facilities (see §IV.A., supra);

                (b)    Despite claiming that the quality of patient care was “the first priority of th[e]

company” and the “number one goal [was] taking care of the patients,” defendants designed,

implemented and approved compensation structures that incentivized employees and executives to

prioritize profit margins over patient care. As detailed by former employees, Acadia maintained a

weighted compensation system whereby Treatment Placement Specialists received higher

commissions for placing patients at facilities that were more profitable for Acadia, regardless of

patient need. See ¶220, infra. Similarly, facility executive bonuses were dependent on whether the

facility met the budget set by Acadia during the prior year. If a facility was behind on the budget set

by Acadia, facilities would be directed to cut costs, including by firing staff, in order to make their

budget, further jeopardizing patient care (see ¶221 infra);

                (c)    Defendants did not recruit, hire or maintain sufficient staff to “meet[] the

needs and provid[e] good quality care” for its ever-expanding facilities. Rather, in order to meet

management’s budget requirements, Acadia’s facilities were staffed at levels far below those

necessary to provide “high quality” services. Numerous Acadia facilities were found to have

improper and inadequate staffing ratios by state and federal investigators, with some facilities cited

as having 1 mental health technician assigned to observe 17 patients or staffing ratios of 3:21 or

5:32. See ¶¶51, 54-59, supra. An October 2018 analysis conducted by Aurelius Value on CMS

inspection reports from 2013 to 2018 for 31 of the 40 acute inpatient U.S. hospitals listed on

Acadia’s website found staffing deficiencies at 28 of the 31 Acadia hospitals, including repeated

violations for not having enough nurses or qualified practitioners on hand (see ¶¶185-186, infra);

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                (d)     As a result of systemic understaffing, Acadia facilities were not, in fact,

providing “high” or “great” quality care. Instead, lack of staff and supervision resulted in unsafe

environments where adverse patient events were rampant, with numerous incidents of patient

physical abuse, sexual abuse and suicide. See §IV.A.2., A.3., supra. Indeed, of the 28 acute

inpatient hospitals that had CMS inspection reports detailing staffing deficiencies, 89% were cited

by inspectors for having deficiencies related to patient safety or care, including violations involving

patient deaths, suicides, elopements (escapes), improper or erroneous administration of medications,

improper use of restraints, and physical or sexual assaults. See ¶186, infra. As described by one

behavioral health associate at an Acadia facility: “[Families] can’t go home and trust us that their

loved one will be okay and bad things won’t happen to them. We have so many patients and not

enough staff” (see ¶51, supra);

                (e)     Defendants did not maintain adequate corporate oversight or protocols to

prevent or report adverse patient events. Instead, as corroborated by former Acadia employees,

defendants instituted policies that prohibited facilities from calling the police after reports of sexual

or physical abuse and demanded “in-house” investigations of abuse prior to notifying the authorities.

See ¶¶48, 64, supra. These procedures actively hindered police investigations and concealed

reporting of adverse events to the proper authorities. According to CMS reports, inspectors also

found managerial deficiencies at 27 of the 31 facilities, including failures to report incidents to law

enforcement or even investigate patient abuse allegations, and failures to provide proper oversight or

follow or establish appropriate patient safety protocols (see ¶186, infra);

                (f)     As reported in a November 2018 Seeking Alpha article, problems with

Acadia’s facilities were “consistent with declining quality of care,” with an industry expert stating

that “‘due to the number of suicides at some of their facilities, Acadia’s ability to accept certain

patients has been restricted by state-level governments.’” See ¶190, infra. The report also stated

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that while most of Acadia’s business came from referrals, an industry expert stated that “Acadia has

developed an industry-wide reputation for not providing quality care, cutting costs, and

cannibalizing their own programs in order to raise profits. As a result, reputable clinicians are

willing to refer to Acadia less and less”; and

                (g)     As a result of the foregoing, the Sarbanes-Oxley Certifications signed by

Jacobs and Duckworth for the consolidated Forms 10-K and 10-Q containing the statements in

¶¶112-113, supra, were also false and misleading, as the relevant reports did in fact contain “untrue

statement[s] of a material fact or omit[ted] to state a material fact necessary to make the statements

made, in light of the circumstances under which such statements were made, not misleading with

respect to the period covered by th[e] report.”

                2.      Defendants Made Misrepresentations and Omissions
                        Regarding Staffing Levels at Acadia’s Facilities

        130.    Throughout the Class Period, defendants repeatedly stated that Acadia adequately

staffed its facilities to ensure they were able to provide appropriate quality care to patients. In fact,

in order to reduce costs, Acadia routinely failed to appropriately staff its facilities, causing disastrous

consequences.

        131.    On November 4, 2015, Acadia held a conference call with Jacobs, Turner and

Duckworth to discuss the Company’s Q3 2015 financial results. On the earnings call, Jacobs

repeatedly assured analysts that, unlike its competitors, Acadia was not at all affected by the labor

pressures facing the behavioral health industry:

               [Gary Lieberman – Wells Fargo Analyst:] Maybe on some of the other labor
        that you saw. A number of other acute care operators have discussed pressure on
        contract labor. Are you see anything there either in your facilities or in the broader
        markets that you could share with us?

               [Jacobs:] Gary, it’s isolated here in the country for us. You know there
        might be one city or two cities as far as the labor market might be a little bit tighter,
        but that has not been a – once again, that is not a top three priority on our list.
        However, in the UK finding nurses is more of a challenge. They have plenty of
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        physicians but have less nurses, so we would like to take their physicians over here
        and take some of our nurses over there and we would be in great shape. But the UK
        has a little tougher time for nurses, but here in the United States we may have an
        isolated market or two where that might be an issue, but it’s nothing that makes it to
        the top three of our list.

                                           *       *       *

                 [Ana Gupte – Leerink Analyst:] Okay. Thanks. The final question just on
        the salaries ratio, is there any plan to increase staffing per patient or anything that
        might cause pressure going forward or should we expect this to remain largely
        flattish?

                 [Jacobs:] We expect it to remain flattish. We believe our hospital – our
        facilities are appropriately staffed today, and so we expect this to be flat for next
        year.

        132.    On May 10, 2016, Jacobs and Turner presented to investors, analysts and market

participants at the Bank of America Merrill Lynch Health Care Conference on behalf of Acadia.

Jacobs again stressed that Acadia maintained sufficient staffing levels to keep up with its patient

growth:

                 [Kevin Fischbeck – BofA Merrill Lynch Analyst:] And do you think that –
        well, I guess do you see a shortage of psychiatrists? I guess one of your competitors
        highlighted that as an issue. And if you were to get this type of volume come
        through the system, would that put a point of pressure – would that be a gating factor
        to treating the patients?

               [Jacobs:] I don’t see the psychiatrists being a gating factor; it may end up
        being an isolated case, but as you all are really aware of the Acadia story, for 5 years
        now we put up 8%-plus patient day growth. And we’ve been able to do that year-
        over-year and have the clinical staff, whether it’s nurses or med techs or
        psychiatrists, in place to meet that need.

                                           *       *       *

               [Kevin Fischbeck – BofA Merrill Lynch Analyst:] We mentioned a little bit
        (inaudible) question up here (inaudible) set that up. We mentioned a little bit that on
        the psychiatrist side, you’re not really seeing labor shortage. Any labor pressure on
        the wait – on the kind of nurse or staff side?

                 [Jacobs:] No, not really. We’re able to find the staff to meet the needs. Our
        budget has a 2% to 3% merit wage increase in it for our employees and we’ve been
        able to live with that. And then our CEOs and our HR departments have done a good
        job finding the appropriate staff.

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                There might be an isolated facility where there might be a temporary shortage
        at one time, but nothing that really is corporate-wide or even statewide. It would be
        an individual facility, so we’ve been very fortunate in being able to attract the
        employees that we need for our facility.

                We have 37,000 of them approximately today and probably 36,000 of them,
        as Brent mentioned earlier, do patient care or support the patient care at the local
        level. And inside the company, our slogan is improving the lives we touch, because
        we know we improve the lives of the patient. But many times, it’s many more
        members of that family, we improve their lives too. So that’s what we stay focused
        on.

        133.    On May 24, 2016, Jacobs and Turner presented to investors, analysts and market

participants at the UBS Global Healthcare Conference on behalf of Acadia. Again, Jacobs reiterated

Acadia’s ability to sufficiently staff its facilities:

                [A.J. Rice – UBS Analyst:] I’ll ask a question and then we’ll see, we might
        just go to the breakout. But one of the things we’re hearing from your closest peer,
        one of the hospital companies, is that there seems to be some tightness of
        psychiatrists, tightness of maybe even clinicians and the nurses in the psychiatric
        business. I know you’ve added bed capacity because you needed to add. If you’ve
        got this IMD opportunity on top of already sort of strong growth, are you going to be
        able to handle the incremental volume or are you seeing any of that capacity? How
        would you put – what would you say about the tightness of clinician supply up there?

                [Jacobs:] Oh sure, I forgot I was [mic’d]. We might see that in a specific
        market but overall we’re able to find the clinicians whether they’re psychiatrists or
        psychiatric nurses to staff our facilities. Most recently, as I mentioned, I was visiting
        a hospital that just added 80 beds over the last two years and they’ve been able to
        find enough psychiatrists and nurses to take care of those 80 beds. So we might have
        an individual facility that might be having some issues but we started investing more
        robustly in our recruitment efforts probably over two years ago. So, we’ve been able
        to find and retain the nurses and the psychiatrists that we need.

        134.    On June 9, 2016, Jacobs and Turner presented to investors, analysts and market

participants at the Jefferies Healthcare Conference on behalf of Acadia, where Jacobs made similar

statements on Acadia’s staffing efforts:

                [Brian Tanquilut – Jefferies Analyst:] Joey, one of the things that we have
        heard is – we are hearing some constraints on the clinician front in terms of hiring
        and capacity. So, as you are growing your beds, what do you see in terms of the
        challenges or the ability to bring in whether it is a psychiatrist or psychologist or
        nurses?


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                [Jacobs:] Okay. We, probably two years ago, invested heavily into our
        internal recruitment department at the corporate office, primarily focused on
        psychiatrists, and we have been very efficient and very fortunate in being able to
        always be able to find the psychiatrist that we need to make sure we can handle the
        growth in our bed build. So psychiatrists to us, sure, we might have a single facility
        that might have an issue, but overall for the Company, this has not been an issue.

        135.    On July 29, 2016, Acadia held a conference call with Jacobs, Turner and Duckworth

to discuss the Company’s Q2 2016 financial results. On the earnings call, Jacobs was again

questioned by multiple analysts about Acadia’s staffing in light of the industry-wide shortage of

behavioral health professionals:

               [Brian Tanquilut – Jefferies Analyst:] Joey, what about clinician supply, just
        to match the build-out?

                [Jacobs:] As I mentioned on previous conference calls, we several years ago
        started beefing up our recruitment department, and that has paid dividends for us in
        today’s environment, in that we’re able to find the clinicians we need, and that has
        not been an issue to us growing.

                                           *       *       *

                [Kevin Fischbeck – BofA Merrill Lynch Analyst:] Okay, great, thanks. I
        guess I just want to go back to the psychiatrist shortage question, which we’ve heard
        a couple more hospitals seeing that. Is it your view that, in your markets, that the
        market for psychiatrists is pretty consistent with where it’s been the last few years, or
        are you seeing somewhat of a shortage, it’s just that the investments you made are
        allowing you to manage through it?

                 [Jacobs:] Our investment is allowing us to address the needs of our
        facilities. We’ve got a top notch recruitment department, and working with our
        division Presidents and local CEOs, we’re able to meet their needs, find the
        psychiatrists, get them signed up, get them relocated to the facilities where we need
        them. We’re working closer and closer with residency programs on new graduates,
        stuff like that. So we’re managing our way through this, Kevin. We identified this
        as a basic business strategy that we needed to do probably three years ago, and then
        put the resources behind that.

                                           *       *       *

                [Paula Torch – Avondale Analyst:] Great. Thank you. I have a couple of
        questions. I just wanted to follow up on the labor and psychiatrists, and maybe the
        capacity constraints. Winder, given that hospitals and some of your other
        competitors are having your capacity constraints, and you’re adding 800 beds this
        year, and maybe potential to do a similar amount next year, do you think that gives
        you an opportunity to take share from your competitors, or even just the hospitals
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        that have behavioral beds within them, given that you are able to be hiring these
        psychiatrists and clinicians? It seems like there are a lot of other companies having
        problems with this?

                [Jacobs:] We just executed our strategy, Paula, and if it ends up taking
        market share from somebody, or just being there ready for the beds and the clinicians
        when those patients are looking for care, either way, we’re glad to be there. It will be
        a combination of both of those. So we’re very pleased that consistently in the
        history of Acadia, that we’ve been able to build the appropriate number of beds
        each year, and find the clinicians to staff those beds, and to meet the needs of these
        local communities.

        136.    On September 7, 2016, Turner presented to investors, analysts and market

participants at the Robert W. Baird Global Healthcare Conference on behalf of Acadia, where he

acknowledged the link between Acadia’s volume growth and need for labor:

               [Whit Mayo – Robert W. Baird Analyst:] Maybe shifting down the P&L to
        some of your expenses. There’s been a lot of chatter in the marketplace just about
        the shortage of psychiatrists. And I know you have had a strategy in place for a
        number of years to address this and stay out in front. Can you maybe just talk about
        what you’re seeing in terms of wage pressure for nurses and also for psychiatrists?

                [Turner:] We’re not seeing a lot of – again, we live within 2% to 3% merit-
        based increases. I’m not seeing anything come through that says we got to raise to
        the level of wages across the board in these markets.

                 We are very focused on staying close to that, because we are dependent on
        that labor to grow our volumes. We may just be in good markets or it may be some
        benefits – it’s probably also some benefit of our corporate initiatives that we’ve had
        in place the last few years just to really support the facilities in their recruiting
        efforts, both from the physician as well as some of the key positions in nursing and
        mental health techs and that sort of thing.

        137.    On November 2, 2016, Acadia held a conference call with Jacobs, Turner and

Duckworth to discuss the Company’s Q3 2016 financial results. In discussing the factors for the

lower-than-expected earnings, Jacobs expressly disclaimed the effect of any staffing issues on

Acadia’s growth rate in his prepared remarks:

                The second factor was same-facility revenue growth in the US of 6.5%,
        which increased compared to 5.9% for the third quarter last year, but which was
        below our expectations for the quarter. The softness in our same-facility volumes in
        the third quarter was affected by a handful of our facilities and was not the result
        of any material labor shortages. While we have a few markets that have labor

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        challenges, this is not materially affecting our growth rate. In the US, through the
        nine months of 2016, we’ve recruited 125 psychiatrists to our facilities, which is
        similar to the total number recruited for all of 2015. These numbers clearly
        demonstrate that Acadia has the ability to recruit psychiatrists where needed. Thus
        far in the fourth quarter, US same-facility patient days grew 6.7% in October, 50
        basis points better than our experience for the third quarter.

        138.    In response to questions from analysts, Jacobs admitted that certain Acadia facilities

suffered from labor shortages, but again downplayed the significance of the staffing issues:

                [Ana Gupte – Leerink Analyst:] Yes. Hi. Thanks for taking my question.
        Good morning. On the staffing shortages again, you’ve been saying that you haven’t
        seen them and I think you gave a number on how many psychiatrists you recruited,
        but your peer – the pure-play peer and also the acute guys are talking about it.
        There’s broad commentary in the country about mental health professionals being in
        short supply. Is there likely to be any wage pressure? There is a little bit of a pickup
        sequentially in your salaries line. And as you’re recruiting, are you having to see any
        wage pressure on that that might be a bit of an offset?

                 [Jacobs:] We have, in our budget, a 2% to 3% merit increase of our
        employees next year and we think they’re going to be able to attract the personnel to
        their facilities that they need to make sure we have the appropriate staffing in our
        facilities.

               So as I mentioned earlier, there are some isolated markets where we
        would – we could have a shortage of a mental health tech or social workers or
        something like that, but there is nothing companywide. And then the reason we
        gave the physician numbers were – gave you the physician numbers were, we gave
        you those numbers because we’re doing well. The recruitment team is doing an
        outstanding job in finding physicians for our facilities.

               So we’ve been able to work through that. This is the only thing we do is
        behavioral health. And those are the companies that you mentioned, they’re also
        focused on med/surg operations too. So we’ve been able to find the employees for
        our facilities.

        139.    On February 22, 2017, Jacobs and Turner presented to investors, analysts and market

participants at the RBC Capital Markets Healthcare Conference on behalf of Acadia. In response to

an analyst question, Turner reiterated that the nationwide staffing shortages would not bar continued

Acadia growth:

                [Frank Morgan – RBC Analyst:] So if we get this extra volume, obviously
        there’s been a lot of discussions around labor and capacity, capacity being labor
        capacity, not physical capacity. But what is your thoughts on that current state. Can

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        you – do you have the labor capacity to handle the volume if we do get incremental
        volume?

                [Turner:] I think – you know, as you have seen from our historical numbers,
        we have been able to grow our organic revenues very healthy numbers, upper-to mid-
        single digits. When you do that in an inpatient setting, you have to have an
        incremental staffing. Caring for more patients means you must bring on more staff
        to do that.

                 So again, we look at the history, we look at the trends going forward. We are
        in a full employment market. The economy is doing well. But we are only focused
        on behavioral health, and we’ve got a lot of resources and efforts designated. Our
        internal recruiting, corporate recruitings, supporting our facilities. We’ve just got –
        everybody in the Company knows when these next 20 beds are coming on in a
        certain market, so it’s not a surprise when those beds come online that we are
        expecting to have more labor needs there.

               So whether we are in the right markets, whether we have the right execution,
        or a combination of those things, we do not see a barrier to our growth based on
        labor. Do we have a couple of markets that are more challenging than others?
        Absolutely. But we also have hundreds of facilities. So one or two markets aren’t
        changing our trends just on the labor component.

        140.    On February 24, 2017, Acadia held a conference call with Jacobs, Turner and

Duckworth to discuss the Company’s Q4 2016 and FY 2016 financial results. On the earnings call,

Jacobs acknowledged the increased difficulties the Company was facing in the labor market, but

again insisted that the Company would see increased profit margins in 2017 despite any staffing

pressures:

                [Brian Tanquilut – Jefferies Analyst:] I appreciate that color, Joey. Follow-
        up for me, margins were strong in Q4. So how should we think about the margin
        progression for this year? Number one, just as we think about the synergies flowing
        through. And then number two, the de novos improving. And then lastly, how do
        you tie that into kind of like staffing, because there were obviously concerns that it is
        getting harder to staff in the behavioral space. So how should we read into your
        margin performance as it relates to your ability to staff all these facilities?

                 [Jacobs:] My expectation is that we will have margin improvement this year.
        Whether that is 25 basis points to 50 basis points to 100 basis points, the expectation
        is that we will have margin improvement. So far, Ron Fincher and his recruitment
        team have been able to find the necessary staff so that we are confident that when
        we build the 967 beds that we are able to staff those beds and that that won’t be an
        issue to keep us from hitting our [due] numbers.


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                I guess the only other comment I would say since the last call we have had,
        is that the labor market is a little tighter, but once again, we have been able to
        recruit and find the staff to work through that. Once again, blocking and tackling
        our recruitment department, doing what it needs to do, hitting its target, I think we
        signed three physicians this week. So, if we can keep doing that, and so we should
        be okay there.

        141.    On March 7, 2017, Jacobs and Turner presented to investors, analysts and market

participants at the Raymond James Institutional Investors Conference on behalf of Acadia. At the

conference, Jacobs reiterated that the Company had sufficient staffing to meet patient needs:

               [John Ransom – Raymond James Analyst:] Right. I think you guys have
        done a nice job laying out your psychiatrist recruiting program. What I think is
        maybe a little less understood is, it looks to me at least like a 15-year boom in
        behavioral health, high occupancy rates, a lot of spending, that we should be at the
        cycle where there’s pressure on labor at below the psychiatrist level, maybe starting
        with the nurse level, going down to the tech level.

               Do you think that over time the industry is going to have to make a step
        change in terms of compensation to keep running this hot in terms of demand? It
        sounds like an old fashioned problem from the 70s where you’re talking about
        capacity bottlenecks and demand for labor. So how do you think that will change?
        How has it changed? And do you think the industry is going to have to start paying
        people like, say, drug counselors more than $45,000 a year and having to compete
        more to get the higher nurses?

                [Jacobs:] Obviously, the most important person to us is the psychiatrist.
        And a psychiatrist can take care of about 20 patients a day. So, you know – and
        that’s one of the reasons we’re affiliating with the joint ventures in the academic
        centers, is that their teaching programs help feed all the acute facilities, whether it’s
        the psychiatrists, the nurse, the mental health tech that we use inside our system.

                I do not see salary adjustments below the psychiatrist, across the board salary
        adjustments occurring because of the tightness in the market. Fortunately for this
        market and fortunately for our company, during the life of the caregiver, they’re
        going to migrate to what they like to do best or a calling. And there are a lot of
        people, and enough so far, want to be in the mental health area, that they want to
        serve their community this type of care. So so far today we have enough of those
        individuals to meet the needs.

                 Now, Butte, Montana, will always need all of the above, because it’s in Butte,
        Montana. Anybody here from Butte, Montana? (Inaudible) talk about Butte,
        Montana. So I’ve been there. Got out of town. I’m sorry; I shouldn’t say that since
        this is taped.



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               But, anyway, so there’s isolated pressure, but it’s more isolated pressure.
        And we have a way of working through that through our recruitment department.
        And we do not see wholesale salary adjustments to maintain our individuals or to pay
        our drug counselors $45,000.

        142.    On April 26, 2017, Acadia held a conference call with Jacobs, Turner and Duckworth

to discuss the Company’s Q1 2017 financial results. On the earnings call, Jacobs again stressed that

Acadia sufficiently staffed its facilities to meet patient demand:

                [Albert J. Rice – UBS Analyst:] Okay. And then just maybe a follow-up on
        the labor side, any update on what you’re seeing in terms of availability of both
        clinicians and psychiatrist? And how’s that pipeline look? And what are you seeing
        there?

                 [Jacobs:] Here in the U.S., we’re doing an excellent job on attracting
        physicians and the technical individuals that we will need for our facilities to meet
        our patient’s demand. The real shortage is over in the U.K. where there is a nursing
        shortage over there. But we have a plan there to be more efficient there and to use
        less agencies expense there. So the U.S., we’re doing fine and working through any
        labor issues or shortage of labor issues in any market. And then the U.K., we’re
        working on a strategy on how do we attract more nurses, make it the place to work
        for in the U.K.

        143.    On July 28, 2017, Acadia held a conference call with Jacobs, Turner and Duckworth

to discuss the Company’s Q2 2017 financial results. On the earnings call, Jacobs issued similar

statements regarding Acadia’s ability to staff its growing number of facilities:

                [Albert J. Rice – UBS Analyst:] Okay, okay. Obviously, not as much for
        you, but to some degree, there’s been discussion around the industry about the
        tightness of labor supply and finding both psychiatrists and nurses. Any update on
        your thinking? What are you seeing in terms of turnover rates, vacant job postings
        and so forth and wage updates and so forth?

                [Jacobs:] We still have – as we’ve mentioned for the past couple of years, we
        have some isolated markets where it’s a little tougher to find the nurses or the
        psychiatrists. But we’ve got a great team in recruitment. And we have provided
        additional resources this year into that department, and we’ll see them – those
        resources be very fruitful. So the labor market is tight, but we’ve been able, Ron
        and his team and the recruitment department that reports to Ron, have been able to
        find the personnel that we need to continue to put up 6% same-store patient day
        growth here in the U.S. So I think we can continue to do that and find the people.
        Their – on the salary wage pressures, it’s in the 2% to 3% is what we’re seeing for
        wage increases. And so – but we want to be competitive in all our markets with – we
        compete with the med/surg hospitals and other health care providers. So we think
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          we’re in a good position and have been able to work through it for these past several
          years.

          144.    On September 6, 2017, Jacobs and Turner presented to investors, analysts and market

participants at the Robert W. Baird Global Healthcare Conference on behalf of Acadia. At the

conference, Jacobs was asked to provide an update on the labor and staffing challenges Acadia was

facing:

                  [Benjamin Whitman Mayo – Robert W. Baird Analyst:] Maybe shifting
          gears to labor and clinical staff shortages. This has gotten some attention in the
          marketplace in the past year. How would you describe the challenges of finding
          psychiatrists to cover your hospitals, finding the appropriate nurses. You guys seem
          to manage through it pretty well over time. This is all you do. You have a lot of
          resources from a recruiting standpoint, so just any update on labor churn.

                   [Jacobs:] Sure. We started about 5 years ago creating a dedicated unit just
          to find psychiatrists for our facilities, and that has been money well spent. And
          we’re continuing to add resources there. We have been able to find an appropriate
          amount of psychiatrists to grow the company. And when you’re putting up 6%
          same-store growth on patient days, you’re going to need physicians and nurses.
          Now on the physician side, that’s another reason why we’re doing the joint venture
          opportunities with the universities is that we would be able to get first access to the
          graduates coming out of those programs, so we can introduce them to Acadia. And
          quite frankly, if you remember the map here in the U.S., we have opportunities from
          coast to coast for physicians. So we have a great team there, and they’re doing a
          good job for us. Now on the nurses side, that’s more of a local issue. Our CEO and
          HR Director are responsible for recruiting and finding the nurses at the local level.
          The market is tighter. When you’re running unemployment at 4.3%, 4.4% for the
          whole country, that means there are tightness in some markets. Some of our markets
          are very oscillated, so it’s tougher there to have that nurse or find that nurse to live in
          that location. But we’ve been able to do that and have been very creative in finding
          ways to not only recruit nurses but psychiatrists. So we continue to add resources
          to that and try to think out of the box on that. And for example, we’ve kicked around
          the idea of starting our own staffing company, more so for the U.K. than the U.S.
          The nursing shortages is much more acute in the U.K. They have plenty of
          physicians. But the nurses, they do not have. So we’re looking at other ways of
          finding and keeping employees for our company. And so it’s an ongoing process.
          But as you mentioned, Whit, we’ve been able to manage through it.

          145.    On May 2, 2018, Acadia held a conference call with Jacobs, Turner and Duckworth to

discuss the Company’s Q1 2018 financial results. On the earnings call, Jacobs reiterated that the

tight U.S. labor market would not impede Acadia’s growth plan:

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        [Frank Morgan – RBC Analyst:] And part 2 would just be – just maybe talk about
        labor in the U.S. We still hear a lot of questions and concerns about the labor
        markets, particularly with behavioral health care in the U.S. What you’re seeing and
        your thoughts on the outlook there.

        [Jacobs:] And then, in the U.S., the labor market is tight as everybody knows, but
        it’s not keeping us from building our facilities and finding the staff to open our
        beds and to grow our beds. So there is pressure there, but our teams here in the U.S.
        are doing a great job of managing through that. But there are isolated markets where
        it’s tougher than other ones, but we’re working through that here in the U.S. And I
        feel good about where we’re at today and the beds that we’re building and that we’ll
        be able to get them open.

        146.    On May 16, 2018, Jacobs and Turner presented to investors, analysts and market

participants at the Bank of America Merrill Lynch Health Care Conference on behalf of Acadia,

where Turner was questioned about the difference in labor challenges between Acadia’s U.S. and

U.K. business operations:

                [Kevin Marx Fischbeck – BofA Merrill Lynch Analyst:] And I guess, maybe
        moving back to the U.S. It’s really interesting how, I guess, in the U.K. you’ve had a
        harder – you’ve been hit harder by the labor side and UHS wasn’t. And then in the
        U.S., UHS was being hit harder by the labor side than you were. I mean, how do you
        think about the labor rates? And is that a gating factor at all to kind of how you think
        about growth?

                [Turner:] Well, I think it’s important to note, both in the U.S. and U.K.,
        we’re not in the same markets as UHS, right? And then quite frankly, in the U.K.,
        some of their service lines, they’re not as deep in the service lines that we are. So it’s
        hard to even compare what they’re having and what we’re having. We’ve been very
        fortunate in the U.S. to have, with the exception of maybe a few markets, to really
        have been able to not just maintain our staffing, right? We’re increasing staffing
        because of the volume increases, the bed additions, and we’ve been able to do that
        within our 2% to 3% merit increases. So I was speaking with a group earlier in a
        meeting, and we’re having to work harder to do that. We’ve got to expand our
        corporate recruiting for talent in the field. It’s a much bigger department than it
        used to be and it’s much more dedicated and concentrated. But they are helping
        our facilities recruit and our benefit plans from our HR departments are competitive.
        And so we just have to kind of continue to be a preferred employer, be a good place
        for these people to work because they have a commitment to behavioral health. And
        so if we’re going to be a market leader, we’re going to continue to hopefully be a
        preferred employer in those markets. But having said that, it’s full employment data
        across the country. So it’s not easy, but we’re making it work.




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        147.    On July 31, 2018, Acadia held a conference call with Jacobs, Turner and Duckworth

to discuss the Company’s Q2 2018 financial results. On the earnings call, Jacobs once again

represented that Acadia was able to recruit sufficient staff for its facilities:

               [Albert J. Rice – Credit Suisse Analyst:] Okay. And on – my follow-up on
        the labor cost, you were up about 80 basis points. Professional fees was well
        contained, so maybe there wasn’t much contract labor. I think that’s more on that
        line. But can you just drill down a little bit more? Is this still mostly U.K.? Or are
        you seeing pressure in the U.S. as well? And what are you attributing it? Is it
        Brexit? Is it NHS moves or just the underlying market trend?

                [Jacobs:] Okay. Overall, the U.S. market is tight, but we’re able to find the
        personnel to open up our beds and staff our facilities. So – but it is tight here in
        the U.S. In the U.K., that is where there is more of the acute shortage, and it’s all
        around immigration and allowing workers to enter the U.K. And Brexit, as you
        know, put many obstacles in place, but the NHS and the government both are
        working towards freeing that up. And right now, you can recruit nurses from the
        Commonwealth countries and bring them into the U.K., and we’re working on that as
        we speak. The acute part of the labor shortage for the company is in the U.K. But
        here in the U.S., when you have labor market, when you have unemployment under
        4%, there are certain labor markets that are tight.

        148.    The statements set forth in ¶¶131-147, supra, were materially false and misleading or

omitted material information necessary to make them not misleading for the following reasons that

were unbeknownst to investors:

                (a)     Contrary to defendants’ consistent downplaying that any staffing issues were

limited to “isolated markets” and that “there is nothing companywide,” the majority of Acadia’s

acute inpatient facilities were not “appropriately staffed.” Indeed, an October 2018 analysis of CMS

inspection reports from 2013 to 2018 for 31 of the 40 acute inpatient U.S. hospitals listed on

Acadia’s website found staffing deficiencies at 28 of the 31 Acadia hospitals, including repeated

violations for not having enough nurses or qualified practitioners on hand (see ¶¶185-186, infra);

                (b)     Defendants did not recruit, hire or maintain sufficient staff to “handle the

growth in [the Company’s] bed build” of its facilities. Numerous Acadia facilities were found to

have improper and inadequate staffing ratios by state and federal investigators, with some facilities

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cited as having 1 mental health technician assigned to observe 17 patients or staffing ratios of 3:21 or

5:32. See ¶¶51, 54-59, supra. As described by one behavioral health associate at an Acadia facility

in 2017: “We have so many patients and not enough staff” (see ¶51, supra); and

                (c)     As a result of systemic understaffing, Acadia’s staffing levels did not “meet

the needs” of its patients or local communities. Lack of staff and supervision allowed for unsafe

environments where adverse patient events were rampant, with numerous accounts of patients

suffering physical abuse, sexual abuse and suicide. See §IIV.A.2., A.3., supra. Indeed, of the 28

acute inpatient hospitals that had CMS inspection reports detailing staffing deficiencies, 25 were also

cited by inspectors for having deficiencies related to patient safety or care, including violations

involving patient deaths, suicides, elopements (escapes), improper or erroneous administration of

medications, improper use of restraints, and physical or sexual assaults. See ¶186, infra.

                3.      Defendants Made Misrepresentations and Omissions
                        Regarding Acadia’s Regulatory Compliance

        149.    Throughout the Class Period, defendants repeatedly stated that Acadia was at least in

substantial compliance with the myriad of state and federal regulatory requirements. In reality,

however, Acadia’s facilities were in regular violation of CMS and state regulations regarding

patient-to-staff ratios and other measures of patient safety or care.

        150.    Throughout the Class Period, Acadia consistently assured investors that it was in

“substantial compliance” with all regulatory requirements in its Forms 10-K, signed by Jacobs and

Duckworth:

        The healthcare industry is subject to numerous laws, regulations and rules including,
        among others, those related to government healthcare program participation
        requirements, various licensure and accreditation standards, reimbursement for
        patient services, health information privacy and security rules, and government
        healthcare program fraud and abuse provisions. Providers that are found to have
        violated any of these laws and regulations may be excluded from participating in
        government healthcare programs, subjected to loss or limitation of licenses to
        operate, subjected to significant fines or penalties and/or required to repay amounts
        received from the government for previously billed patient services. Management
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        believes we are in substantial compliance with all applicable laws and regulations
        and is not aware of any material pending or threatened investigations involving
        allegations of wrongdoing.6

        151.    The Forms 10-K referenced at ¶150, supra, contained certifications pursuant to

Sarbanes-Oxley signed by Jacobs and Duckworth, who certified that they had reviewed the Forms

10-K and that they contained no materially untrue statements or omissions, fairly represented in all

material respects the financial condition of Acadia, were accurate in all material respects, and

disclosed any material changes to the Company’s internal control over financial reporting. Jacobs

and Duckworth also attested that they had designed disclosure controls to ensure that material

information relating to Acadia was made known to them.

        152.    On May 24, 2017, Jacobs and Turner gave a presentation to investors, analysts and

market participants at the UBS Global Healthcare Conference on behalf of Acadia. In response to

analyst questioning around negative publicity facing Acadia’s competitor UHS, Jacobs denied that

any allegations of questionable business practices in the behavioral health space were affecting

Acadia:

                [Albert J. Rice – UBS Analyst:] So there’s been some adverse publicity in
        this space, not – hasn’t been targeted at you guys at all, and that’s good. But has that
        had any impact in the marketplace as best you can determine? Has it affected your
        business in anyway, either driving volume your way or making people cautious about
        sending people in your direction?

                [Jacobs:] No. We hate that our – no, it hasn’t. We did terrific same-store
        growth in the first quarter. So this information that is out there now about our
        competitor has been out there for a while, and it has had no impact on us and – so far,
        and we don’t see it having an impact on us. It might have diverted their attention
        away from acquisitions or that sort of thing, where we haven’t seen them very – we
        haven’t seen a lot of activity from the competitor during the past couple of years on
        acquisitions. So Steve Davidson and our team does a great job of finding and
        sourcing and making the acquisition. So no impact, maybe a slight positive.


6
    This statement was included in the Company’s Forms 10-K for: FY 2014, filed on February 27,
2015; FY 2015, filed on February 26, 2016; FY 2016, filed on February 24, 2017; and FY 2017,
filed on February 27, 2018.

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        153.    On June 9, 2017, Acadia filed with the SEC a Form S-3ASR registration statement

and prospectus, signed by Jacobs and Duckworth. The Form S-3ASR incorporated by reference the

statement in the FY 2016 Form 10-K alleged herein at ¶150, supra, to be false and misleading.

        154.    On July 28, 2017, Acadia held a conference call with Jacobs, Turner and Duckworth

to discuss the Company’s Q2 2017 financial results. On the earnings call, Jacobs again claimed that

Acadia had not fallen to the same pressures of its competitor UHS:

                 [Ana Gupte – Leerink Analyst:] The question I have is you have a peer, and
        we only have the two of you to really observe, has had some regulatory coding
        issues, has had clinical staffing issues – is now also speaking about a length of stay
        pressure from payers and the mix shifting to Medicaid and the like. And it’s
        somewhat corroborated by some of the inner channel checks we’ve done, at least the
        last one. But you’re not seeing it, which is really great, and you had a good quarter.
        Is this really that the pressures don’t exist? Or is there something about being a best-
        in-class in-patient operator, [and you know], can you talk about what that might be
        that makes you able to avert that better?

                 [Jacobs:] Well, Ana, yes, we had a terrific quarter. Second quarter was
        terrific. But you can look at the year-to-date numbers, and they’re terrific. We –
        obviously, I think, our team is better than other people, other companies. Obviously,
        I think that. We cheerlead that. I think a factor that you can’t quantify is – and Ron
        and all the senior management, we have a – very much a different culture inside
        Acadia. And we try to have a lot of fun, and we try to work hard, and we try to hit
        our expectations, and we happen to be in markets where we can do that. So – and the
        length of stay, it may go down for us. But so far, we don’t see that and we haven’t
        really seen it in the past. When acute patient days – length of stay is 9.5 days, and if
        you go back to the industry studies, this has been since the mid-’90s. Average length
        of stay for adults has been in the 9 to 10 days. And we are right in the middle of that
        for the second quarter. So – and it could be just the composition of our programs and
        our beds and our markets. And – but more importantly, my hats off to our operations
        team. Ron and that group are unbelievable.

        155.    On August 18, 2017, Acadia filed with the SEC a Form 424B7 prospectus

supplement to the June 9, 2017 prospectus for a follow-on offering of more than 2.8 million shares

of Acadia common stock. The August 18, 2017 prospectus supplement incorporated by reference

the same documents as the June 9, 2017 prospectus, i.e., including the FY 2016 Form 10-K alleged

herein at ¶150, supra, to be false and misleading.


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        156.    On November 6, 2018, Acadia held a conference call with Jacobs, Turner and

Duckworth to discuss the Company’s Q3 2018 financial results. On the earnings call, Jacobs

avoided discussing the regulatory issues that had been revealed by Aurelius Value the month before:

                [Albert J. William Rice – Credit Suisse Analyst:] Maybe 2 questions, if I
        could. First of all, there’s also been some reporting – particularly mainly in the
        financial press this quarter about regulatory issues that maybe the company’s been
        facing. And I wanted to give you a chance to give any comments you’d like to give
        about that and then also to ask you in the aftermath because it didn’t seem to get
        picked up in the popular press. I would think there hasn’t been any change in your
        interaction with regulators, but just to ask whether that is indeed the case.

                [Jacobs:] Sure, A.J. Referring to the statement I’ve made in previous
        earnings calls concerning regulatory issues at a few of our facilities, I’m pleased to
        announce that all of those have been resolved and that those facilities do not have
        admission holds as of this time. As you know, A.J., we’re a large company with a
        large number of facilities. So at any time – and at any time, we can have an
        inspection go bad or an incident occur or an investigation be instigated. So – but I’m
        pleased to report that for the ones we’ve been talking about this year, those facilities
        have their admission holds removed and have their license and are building back
        their census.

        157.    The statements set forth in ¶¶150-156, supra, were materially false and misleading or

omitted material information necessary to make them not misleading for the following reasons that

were unbeknownst to investors:

                (a)    Contrary to the claim that Acadia’s facilities were in “substantial compliance”

with applicable federal, state, local, and independent review body regulations and requirements:

                       (i)     Acadia facilities were staffed below levels necessary to assure proper

treatment of patients in a safe and secure therapeutic environment, or to monitor patients at risk for

harming themselves and others. As revealed by Aurelius Value’s October 2018 analysis, available

CMS inspection reports from 2013 to 2018 for 31 of the 40 acute inpatient U.S. hospitals listed on

Acadia’s website found staffing deficiencies at 28 of the 31 Acadia hospitals, including repeated

violations for not having enough nurses or qualified practitioners on hand. See ¶¶185-186, infra. Of

the 28 acute inpatient hospitals that had CMS inspection reports detailing staffing deficiencies, 25

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were also cited by inspectors for having deficiencies related to patient safety or care, including

violations involving patient deaths, suicides, elopements (escapes), improper or erroneous

administration of medications, improper use of restraints, and physical or sexual assaults (see ¶186,

infra).

                       (ii)    Acadia’s internal policies resulted in consistent failures to promptly

report or accurately document incidents of actual or potential harm to patients, and actively delayed

or concealed reporting of a significant number of events. CMS inspections found managerial

deficiencies at 27 of the 31 facilities, including failures to report incidents to law enforcement or

even investigate patient abuse allegations, and failures to provide proper oversight or follow or

establish appropriate patient safety protocols (see ¶186, infra); and

                       (iii)   Acadia was in violation of other state and local regulatory

requirements and standards pertaining to staffing levels and patient treatment, the condition of

facilities, and medical record-keeping practices;

                (b)    While defendants touted that they had not succumbed to the questionable

business practices that had been reported of Acadia’s primary competitor UHS and that there was “a

different culture at Acadia,” an October 2018 analysis by Aurelius Value found that Acadia’s

hospitals were objectively worse than UHS. Aurelius Value compared the results of 70 CMS

inspection reports of Acadia facilities from 2015-2017 to 153 CMS inspection reports for 58

different UHS behavioral hospitals over the same time period. The Aurelius Value analysis

concluded that Acadia facilities averaged 4.8 violations per inspection, 60% higher than the 3

violations per inspection averaged by the UHS facilities. See ¶187, infra. Its review also found that

Acadia facilities received double the violations per inspection involving patient safety or care

deficiencies, and four times the number of violations for staffing problems;



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                (c)    Defendants claimed that Acadia had avoided the negative publicity

surrounding the for-profit behavioral healthcare space. But as reported in a November 2018 Seeking

Alpha article, at least one industry expert reported that “‘due to the number of suicides at some of

their facilities, Acadia’s ability to accept certain patients has been restricted by state-level

governments,” and that “Acadia has developed an industry-wide reputation for not providing quality

care, cutting costs, and cannibalizing their own programs in order to raise profits. As a result,

reputable clinicians are willing to refer to Acadia less and less”; and

                (d)    As a result of the foregoing, the Sarbanes-Oxley Certifications signed by

Jacobs and Duckworth for the consolidated Forms 10-K containing the statements in ¶150, supra,

were also false and misleading, as the relevant reports did in fact contain “untrue statement[s] of a

material fact or omit[ted] to state a material fact necessary to make the statements made, in light of

the circumstances under which such statements were made, not misleading with respect to the period

covered by th[e] report.”

        B.      False and Misleading Statements and Omissions Regarding Acadia’s
                U.K. Operations

        158.    Acadia established its financial guidance for FY 2017 in February 2017, and

throughout the year defendants reaffirmed that the Company’s U.K. operations would grow at a

profitable rate consistent with the guidance. In reality, however, the Company’s weakened patient

admissions and increased labor costs in its U.K. operations did not support its publicly touted

financial guidance – a fact that was ultimately revealed in October 2017, only two months after

defendants pocketed tens of millions of dollars in insider stock sales.

        159.    On February 23, 2017, Acadia issued a press release filed with the SEC on Form 8-K

entitled “Acadia Healthcare Reports Fourth Quarter GAAP EPS of $0.48 and Adjusted EPS of

$0.59; Establishes Financial Guidance for 2017.” In the press release, Acadia included its “financial

guidance for 2017 and the first quarter of 2017,” as follows:
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               Revenue for 2017 in a range of $2.85 billion to $2.9 billion;

               Adjusted EBITDA for 2017 in a range of $625 million to $640 million;

               Adjusted earnings per diluted share for 2017 in a range $2.40 to $2.50; and

               Adjusted earnings per diluted share for the first quarter of 2017 in a range of
                $0.45 to $0.47.

        160.    On February 24, 2017, Acadia released its Q4 2016 financial statements and its 2016

Annual Report on Form 10-K, which was signed by Jacobs and Duckworth. The 2016 Form 10-K

discussed the “[f]avorable industry and legislative trends” that Acadia believed were one of its

“competitive strengths,” specifically including its U.K. operations:

                The mental health hospitals market in the U.K. was estimated at £15.9 billion
        for 2014/2015. As a result of government budget constraints and an increased
        focus on quality, the independent mental health hospitals market has witnessed
        significant expansion in the last decade, making it one of the fastest growing
        sectors in the U.K. healthcare industry. Demand for independent sector beds has
        grown significantly as a result of the National Health Service (the “NHS”) reducing
        its bed capacity and increasing hospitalization rates. Independent sector demand is
        expected to further increase in light of additional bed closures and reduction in
        community capacity by the NHS.

        161.    The 2016 Form 10-K referenced at ¶160, supra, contained certifications pursuant to

Sarbanes-Oxley signed by Jacobs and Duckworth, who certified that they had reviewed the Form

10-K and that it contained no materially untrue statements or omissions, fairly represented in all

material respects the financial condition of Acadia, was accurate in all material respects, and

disclosed any material changes to the Company’s internal control over financial reporting. Jacobs

and Duckworth also attested that they had designed disclosure controls to ensure that material

information relating to Acadia was made known to them.

        162.    The Company also held an earnings call on February 24, 2017, with Jacobs,

Duckworth and Turner all participating on the call. In his prepared remarks, Duckworth reiterated

the FY 2017 financial guidance disclosed in the February 23, 2017 press release:



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               Turning to our financial guidance for 2017, and as announced in yesterday
        afternoon’s news release, our 2017 financial guidance includes the following:
        Revenue in a range of $2.85 billion to $2.9 billion, adjusted EBITDA in a range of
        $625 million to $640 million, and adjusted diluted EPS in a range of $2.40 to $2.50.

        163.    In response to an analyst question regarding the performance of Acadia’s U.K.

operations going into 2017, Turner claimed that the Company had turned a corner following its

divestiture of certain Priory facilities:

                [Whit Mayo – Robert W. Baird Analyst:] Hey, thanks. Just wanted to see if
        there’s any more color you can provide on the UK performance in the quarter,
        obviously there was a lot going on, a lot of distraction with the divestitures, et cetera.
        So just wanted to see if there is anything you can share to put into context, how we
        should look at the performance, and maybe if you could just comment on sort of the
        cadence of the expected synergies that 2017 plays out?

                [Turner:] Sure, Whit, this is Brent. Again, the facts are mid, two-thirds
        through the fourth quarter was when we closed the divestiture transaction, but there
        was a tremendous amount of focus by the leadership in the UK on both separately-
        run companies over there to help make that happen. Multitasking, call it what you
        want, there was a lot of distraction, and it weighed on the operation.

                Now that is behind us. We have gotten the roughly half of the synergies are
        out of the run rate, because of the removal of the redundancy, management team
        going over to the new company, and now we are, the UK is focused, integrating
        and getting back on track.

               But it does not happen overnight. Remember, the benefit we get in the UK is
        a very healthy and long length of stay. But the admissions activity is much more
        slower than you see in the US. So, we are on a path. I just think people should
        expect the UK to improve rateably each quarter throughout 2017.

        164.    Duckworth similarly claimed that the Company’s U.K. operations would see

improvement in its growth and margin numbers, despite the challenges posed by a weakened census

and increased labor costs:

                [Ralph Giacobbe – Citigroup Analyst:] Thanks. Good morning.

               I guess first, I wanted to ask about the same-store EBITDA margin down in
        the UK. Was there certain costs that maybe wouldn’t repeat, and more related to
        some of the distraction that you talked about that you can help us reconcile, plus,
        obviously, (inaudible) capture, to give you visibility on the improvement there?

             [Duckworth:] Yes. The main thing, obviously, in the UK they were down
        somewhat on a census perspective route. What we also saw, just on the cost
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        affecting the margins is just around the labor costs and the labor management
        costs in the UK, just with the census.

                There would be a focus on managing your labor, and with some of the
        distraction that did not happen to where we thought it would. And I think that is
        where we will see as the census recovers, and as we are able to move forward with
        the integration and put the new management structure in place we will see both the
        census rebound and the growth rebound, as well as the margin improvement in the
        UK.

        165.    On March 7, 2017, Jacobs and Turner presented to investors, analysts and market

participants at the Raymond James 38th Annual Institutional Investors Conference on behalf of

Acadia. At the conference, Turner reiterated that the U.K. business would generate strong EBITDA

growth numbers:

                [John Ransom – Raymond James Analyst:] Okay. So when you look at your
        growth rate – I think you said on your call about 35% a year EBITDA is now coming
        out of the UK pro forma. What’s the difference in the growth rate? I know the UK
        has some real growth pieces to it, but what’s the difference between the organic
        growth rate in the UK versus the US? And what’s the – I think we understand the
        US model of organic growth of new beds, but how does that play out in the UK,
        particularly in light of government pricing that’s probably not going to grow a heck
        of a lot?

                [Turner:] Sure. I think if you’re just starting off in the US, obviously we
        continue to see top-line organic growth in the 6% to 8% range. It’s important to sort
        of move off of that and know that it should drive higher EBITDA growth, because of
        the leverage effect we get off of that incremental revenue

               Going over to the UK – and before I go, 90% of that top line is volume and
        the 10% is going to be price. You go to the UK, it’s really not that much different in
        terms of the drivers. It’s going to be much more heavily weighted to volume. But
        because of the mix of business in our portfolio over there – it’s not all healthcare.
        We do have some children and adolescent services and some adult care and homes.

               So I think the expectation should be centered around 5%, with some still
        leverage on that 5%, giving potentially a double digit, but certain a strong single
        digit EBITDA growth if you were just to sort of track them side by side.

        166.    In response to an audience question, Jacobs also acknowledged that “[t]he UK has a

nurse issue. So we focus on nurses over there. For a year we’ve focused on nurses.”




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        167.    On April 25, 2017, Acadia issued a press release filed with the SEC on Form 8-K

entitled “Acadia Healthcare Reports First Quarter GAAP EPS of $0.40 and Adjusted EPS of $0.46;

Affirms Financial Guidance for 2017.”

        168.    Despite reporting smaller same facility revenue growth and decreased EBITDA

margin, the April 25, 2017 release “affirmed [Acadia’s] previously established financial guidance for

2017,” as initially disclosed in the February 23, 2017 press release:

               Revenue for 2017 in a range of $2.85 billion to $2.9 billion;

               Adjusted EBITDA for 2017 in a range of $625 million to $640 million; and

               Adjusted earnings per diluted share for 2017 in a range $2.40 to $2.50.

        169.    On April 26, 2017, Acadia held a conference call with Jacobs, Turner and Duckworth

to discuss the Company’s Q1 2017 financial results. In his prepared remarks, Jacobs announced that

the Company had achieved the majority of its cost-cutting “synergies” from the integration of Priory:

                Acadia’s revenue growth for the quarter was primarily driven by the addition
        of a net 6,200 beds through the Priory acquisition halfway through the first quarter
        last year. We initiated full integration of Priory into Acadia after the U.K. facility
        divestiture in November 2016. By the end of the first quarter of 2017, we had
        achieved about $16 million of the expected $20 million of cost synergies from the
        transaction, and we expect to recognize all the cost synergies by the fourth quarter of
        this year

        170.    Duckworth also reiterated the FY 2017 financial guidance that was initially disclosed

in the February 23, 2017 press release and affirmed in the April 25, 2017 press release:

                Turning to our financial guidance and as announced in yesterday afternoon’s
        news release, we are affirming our 2017 financial guidance, which includes revenue
        in the range of $2.85 billion to $2.9 billion; adjusted EBITDA in the range of $625
        million to $640 million; and adjusted diluted EPS in the range of $2.40 to $2.50.

        171.    In response to numerous analyst questions concerning the weaker volume growth in

Acadia’s U.K. facilities, Jacobs and Duckworth continued to claim that U.K. growth would pick up

to meet the Company’s guidance numbers, and that nursing shortages were not affecting Acadia’s

financial performance:
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                [Unidentified Analyst:] Top line in the quarter, a little bit softer. I guess did
        you see anything as the quarter progressed? Maybe talk about any issues in the U.K.
        – specifically aside from distraction after Priory. And I guess just help frame your
        comforting and confidence in revenue and EBITDA guidance ramp as we sort of
        move through the year?

                [Jacobs:] Well, obviously, by reaffirming the guidance in our press release
        and now on the call, we’re comfortable with our total year guidance. And as – if
        you follow the history of the industry and of this company, usually, our softest
        quarter is the first quarter and then we begin to have a ramp-up in the quarter
        starting in the second quarter. So I think for the last 3 quarters each, we need
        about $0.66 to hit the guidance, and I think that’s very doable and we’re working
        very hard to make that happen.

                                           *       *       *

                [Frank G. Morgan – RBC Analyst:] And just the last question, on a relative
        base, the weaker volume growth in the U.K., I know you talked about a shortage of
        nurses there, do you attribute it to that? Or is there any other issue that you would
        call out for that weaker relative performance?

                [Jacobs:] Not so much the nurses. We can use agency nurses to take care of
        the patients, and that’s more of a common practice over there than it is here in the
        U.S. I think the British government is a little bit more cautious, and more cautious
        meaning that NHS is more cautious. So I think there’s a little – this Brexit thing, I
        think they’re just looking and watching and seeing and see how they feel good and
        see what happens to their economy. And so – which is okay, for us. We have plenty
        of opportunity. We have plenty of beds we can fill. And we will – I think, you will
        see us – maybe our private mix will probably grow some. I think it’s about 5% of
        our patient days now over there, and patient – private mix could grow.

                                           *       *       *

                [Ann K. Hynes – Mizuho Analyst:] Okay, that’s helpful. And just one last
        thing about the U.K., because I know with the divestitures, can you describe the
        assets that you were left with? Because I know there’s the slower growth, I think
        you said on the last quarter conference call, maybe the same-store growth profile is
        more like 4% to 5% because those are more adult services. So can you just maybe
        reiterate if I’m correct way that, that we’re all in line with the same-store growth over
        in the U.K.? And secondly, obviously, Q1, we expect – should we expect a ramp up
        in same-store growth in the U.K. How we’re thinking about it within guidance?

                [Duckworth:] Ann, this is David. And just starting what the company looks
        like now in the U.K., you are right. The divestiture was within our healthcare
        division. So we did see the education, adult care and the elderly care division
        become a little bit more significant to the total. We should see strong growth across
        all of those divisions, but we do have healthcare, education and adult that are
        growing a little bit faster than the elderly care division. So that is the mix change
        that we should see. But after the divestiture healthcare, education and adult care
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        continue to be our strongest division. And we do think that over the course of the
        year, as the integration is completed that we should see the growth pickup in the
        U.K.

        172.    On May 3, 2017, Jacobs and Turner presented to investors, analysts and market

participants at the Deutsche Bank Health Care Conference on behalf of Acadia. At the conference,

Turner assured investors that the financial performance of Acadia’s U.K. operations would turn

around and strengthen as the year went on:

                 [Christian Douglas Rigg – Deutsche Bank Analyst:] Right. I guess along the
        same lines but just purely specific to you guys in the U.K., the patient day is also a
        little soft but very strong admissions. It seems like based on the length of stay there
        that things should start to strengthen as you move through the year, but could you
        just give us some color around that?

                [Turner:] Sure, and your observation’s absolutely correct. Anytime that
        you have admissions at a higher rate than your patient days and length of stay is very
        long, that bodes well for future growth, because those double-digit admissions
        coming in, in the first quarter are going to be there really, for the most part,
        throughout the full year of 2017. Again, I think the highlight – the headline is that
        U.K. has been busy for our team. It’s been very active. Yes, November 30 came
        and went with the divestiture and that’s great, but that’s a big operation. We’re just
        $900 million in U.K. revenues. It just takes a little time. So we see incremental
        progress in terms of our expectations over there, and the supply-demand
        imbalance, the NHS relying more on the independent sector, all those trends, the
        NHS highlighting that behavioral health is 1 of 3 key pillars of their focus going
        forward over the next 5 years, all that positions us, we believe, very well to have
        enhancements to our operations going forward.

        173.    On July 27, 2017, Acadia issued a press release entitled “Acadia Healthcare Reports

Second Quarter GAAP EPS of $0.57 and Adjusted EPS of $0.66.” In the release, Acadia announced

that it was narrowing the Company’s previously announced FY 2017 financial guidance as follows:

               Revenue for 2017 in a range of $2.85 billion to $2.87 billion;

               Adjusted EBITDA for 2017 in a range of $628 million to $635 million; and

               Adjusted earnings per diluted share for 2017 in a range $2.42 to $2.47.

        174.    On July 28, 2017, Acadia held a conference call with Jacobs, Turner and Duckworth

to discuss the Company’s Q2 2017 financial results. On the earnings call, Duckworth repeated the


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adjustment to the FY 2017 financial guidance disclosed on the July 27, 2017 press release in his

prepared remarks:

                Turning to our financial guidance. And as announced in yesterday
        afternoon’s news release, we adjusted our 2017 financial guidance within the
        previously established range, including: revenue in the range of $2.85 billion to
        $2.87 billion; adjusted EBITDA in the range of $628 million to $635 million; and
        adjusted diluted EPS in the range of $2.42 to $2.47. This guidance assumes an
        exchange rate of $1.25 per British pound sterling and a tax rate of approximately
        25%. Our financial guidance does not include the impact from any future
        acquisitions and transaction-related expenses.

        175.    When questioned by an analyst on the call, Jacobs denied that the narrowed guidance

had any implications for the results for the remainder of 2017:

                [Brian Gil Tanquilut – Jefferies Analyst:] Brent or Joey, just first question
        for me. You narrowed the guidance ranges, and I think that the – there has been a
        lot of question overnight for investors on whether there’s anything to read into the
        revenue guidance midpoint being slightly below the previous midpoint. Is there
        anything you guys would be able to provide in terms of color and how you are
        thinking about the revenue guidance adjustment?

                 [Jacobs:] Brian, great question. No, there’s not. That at the beginning of
        the year, we set ranges, as we always do and in the middle of the year, we just
        tighten them up a little bit, and that’s all we did here was tighten them up a little
        bit. There’s nothing other than just – we’re just narrowing the ranges from the
        beginning of the year. And as you saw in our second quarter results, we’re doing
        terrific, and we expect that to continue for the last 6 months.

                                          *      *       *

                [Tanquilut:] Joey or Brent, just as we think about the cadence for the back
        end – where guidance is and how you’re thinking about the distribution between
        the next 2 quarters, without giving quarterly guidance, are there any things you
        would call out, other than startup costs for the hospitals being spread out evenly or
        pro rata between the 2 quarters? Anything that we should be thinking about?

                [Jacobs:] No, Brian. I think you should just, again, we tightened the reins
        just to reflect that we’re halfway through the year. And I think you take the
        balance and split it in half, and you’re going to be pretty close for the third and
        fourth quarter.




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        176.    When questioned by another analyst for an update on the results of U.K. operations,

both Turner and Jacobs maintained that the Company’s U.K. operations would see continued

improvement for the remainder of the year:

               [Benjamin Whitman Mayo – Robert W. Baird Analyst:] Okay. And my next
        question, Brent, any just update on the U.K. operations, how they’re trending
        versus your expectation? I’m just really more curious now, after the election, any
        change with the NHS or staffing changes? Just – we’ve seen some hiccups from
        some other nonbehavioral providers. I’m not sure this applies to you, but just any
        general observations on the current environment over there would be helpful.

                [Turner:] I think, as you see from our second quarter numbers, the U.K.
        improved for us in the second quarter over the first quarter. And our expectations
        are consistent there with what we said is that we’re going to get incremental
        improvements through the U.K. over the balance of the year. We don’t expect that
        market to be exactly in line with the attractive metrics of the U.S., but it’s not far off.
        And we are not seeing just massive issues around some of the election issues. I
        mean, the behavioral health needs in the U.K. are not going away. And so ultimately
        we believe, short term and long term, our facilities and our operations are well
        positioned to meet the needs over there. And we see good funding streams for that,
        again, both in the short and the long term.

                 [Jacobs:] And Whit, I’ll just add that the new team we put together, that Ron
        Fincher and David Duckworth put together in December – both of those guys just
        got back from the U.K., and we’re very pleased with where we are there and the
        team we’ve got assembled there. So – it will follow – it will be a little bit slower
        growth than what the U.S. is because of – the metrics here are so strong. And we’re
        very pleased with our investment in the U.K. and we expect them to continue, just
        at a little slower pace.

        177.    On September 7, 2017, Jacobs and Turner presented to investors, analysts and market

participants at the Wells Fargo Healthcare Conference on behalf of Acadia. When questioned about

volume and payor rate trends in the U.K., Jacobs acknowledged that defendants were aware of the

increased nursing costs and modest rate increases the Company was facing, but continued to paint a

rosy picture of its expected U.K. performance:

               [Daniels:] Can you talk about the volume trends and the reimbursement
        environment in the U.K.? And then specific, the impact of Brexit on the facilities
        over there, the performance?

               [Jacobs:] Sure. I’ll step up to take this one. We either don’t know there’s a
        clock up here, and that counts down 30 to 30 minutes. And I spoke the first 14, and I
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        turned it over to Brent. You notice every 2 minutes he looks for me to take it back
        over, but he hasn’t got his 14 minutes in yet, but I’ll step up and do this one. U.K.,
        first, we’ll talk about Brexit. Brexit really was an immigration issue. And
        unfortunately, what it is, is it’s created a shortage of workers in the U.K. that now the
        Europeans cannot migrate over and have the jobs that they used to have before
        Brexit. So that’s impacted us because in the U.K., there’s plenty of physicians, but
        there’s a need for nurses. So we have to use agency nurses more there than we do
        in the U.S. because of Brexit. Reimbursement-wise, the NHS, all the money really is
        at the NHS, but there’s low-cost health care trusts throughout the country. And they
        will give the money to these local health care trusts and then you will negotiate with
        (inaudible). So – and with the NHS at the global level. So this past year, I think we
        ended up with like a 1.6% rate increase if you take all the trusts and the NHS
        together, and that process occurs like it would here in the U.S. on negotiations since
        April 1 for the U.K. So that’s how rates are done there. They’re growing a little
        slower than the U.S., and we knew that they would, but we also see – well, we think
        we see into the future. We also see in the future that there’s a possibility that if the
        NHS, which we believe they will do, accelerates the closing of their beds, it will
        drive more patients to us. So there’s going to be some years where I think they can
        do as good as the U.S. on patient bed growth or maybe even better on patient bed
        growth. So we very much like the assets we have in the U.K., and we – the
        management team that we’ve put together there is terrific. And so we’re very
        fortunate in what we have there and very excited about the future. But it is, for the
        next 2 years, will be slower growth. But then I think it has the potential to grow as
        fast or even faster than the U.S. ones.

        178.       The statements set forth in ¶¶159-177, supra, were materially false and misleading or

omitted material information necessary to make them not misleading for the following reasons that

were unbeknownst to investors:

                   (a)    Defendants had no reasonable basis to believe and did not, in fact, believe that

Acadia would meet its FY 2017 financial guidance that they provided in the February 23, 2017 press

release and discussed on the February 24, 2017 conference call in connection with the Company’s

Q4 2016 earnings:

                          (i)     At the time of issuing this guidance, defendants’ major acquisitions in

the U.K. had made the Company’s financial performance increasingly dependent on the results of its

U.K. facilities;

                          (ii)    The U.K.’s NHS admittedly focused on “funding providers based on

the quality of their service rather than volume of patients,” and by January 2017 U.K. media had
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begun profiling multiple “care failures after deaths of patients” in a “series of incidents that has

raised concerns about the welfare of patients, both private and NHS, at Priory hospitals” (see ¶95,

supra);

                       (iii)   At the time of issuing the FY 2017 guidance, the Company had

reported disappointing same facility growth of 4.2% for its U.K. facilities in Q4 2016;

                       (iv)    Defendants admittedly “look[ed] at the census report every day” to

monitor historical and future patient admission trends and to forecast staffing needs. See §VII.B.,

infra. At the time of issuing the FY 2017 guidance, the Company was aware that “in the UK they

were down somewhat on a census perspective route” that the major costs affecting U.K. financial

performance were “around the labor costs and the labor management costs in the UK” (see ¶164,

supra); and

                       (v)     In light of these factors, there was no basis to believe, and defendants

did not in fact believe, that the Company would “see both the census rebound and the growth

rebound, as well as the margin improvement in the UK” or that “people should expect the UK to

improve rateably each quarter throughout 2017” so as to support the Company’s FY 2017 financial

guidance.

                (b)    Defendants had no reasonable basis to believe and did not, in fact, believe that

Acadia would meet its previously provided FY 2017 financial guidance that was affirmed in the

April 25, 2017 press release and April 26, 2017 conference call regarding the Company’s Q1 2017

earnings:

                       (i)     By April 2017, Acadia’s U.K. facilities had received even more

negative media attention, with major news outlets picking up on the story that the independent

regulator CQC had found the safety of defendants’ flagship U.K. hospital to be “Inadequate” (see

¶96, supra);

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                       (ii)    At the time of reaffirming the FY 2017 guidance, the Company’s U.K.

performance had already failed to improve on the Company’s disappointing Q4 2016 results, as

same facility revenue growth dropped from 4.2% in Q4 2016 to 2.6% in Q1 2017;

                       (iii)   Defendants admittedly “look[ed] at the census report every day” to

monitor historical and future patient admission trends and to forecast staffing needs. See §VII.B.,

infra. At the time of reaffirming the FY 2017 guidance, the Company was aware that patient day

metrics continued to be “soft” (see ¶172, supra);

                       (iv)    Despite defendants’ claim that the “weaker volume growth” and

“weaker relative performance” in the U.K. was “[n]ot so much the nurses” (see ¶171, supra),

defendants were already aware that the major costs affecting U.K. financial performance were

“around the labor costs and the labor management costs” (see ¶164, supra); and

                       (v)     In light of these factors, there was no basis to believe, and defendants

did not in fact believe, “over the course of the year, as the integration is completed that we should

see the growth pickup in the U.K.” so as to support the Company’s FY 2017 financial guidance.

                (c)    Defendants had no reasonable basis to believe and did not, in fact, believe

Acadia would meet the “narrowed” FY 2017 financial guidance that they provided in the July 27,

2017 press release and discussed on the July 28, 2017 conference call in connection with the

Company’s Q2 2017 earnings:

                       (i)     At the time of “narrowing” the FY 2017 guidance, the Company’s

U.K. performance had already failed to improve from the Company’s disappointing Q4 2016 results,

as U.K. same facility revenue growth went from 4.2% in Q4 2016 to 2.6% in Q1 2017 to 4.0% in Q2

2017;

                       (ii)    Defendants admittedly “look[ed] at the census report every day” to

monitor historical and future patient admission trends and to forecast staffing needs. See §VII.B.,

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infra. At the time of narrowing the FY 2017 guidance, the Company was aware that patient day

metrics continued to be “soft,” and that the major costs affecting U.K. financial performance were

“around the labor costs and the labor management costs” (see ¶¶164, 172, supra);

                       (iii)   Despite defendants’ denials that there was “anything to read into the

revenue guidance midpoint being slightly below the previous midpoint” (see ¶175, supra),

defendants had already filed a Form S-3ASR registration statement and were contemplating a

secondary offering where they would unload tens of millions of dollars of Acadia stock – which

would occur just weeks later; and

                       (iv)    In light of these factors, there was no basis to believe, and defendants

did not in fact believe, that the Company was “going to get incremental improvements through the

U.K. over the balance of the year” so as to support the Company’s FY 2017 financial guidance.

                (d)    As a result of the foregoing, the Sarbanes-Oxley Certifications signed by

Jacobs and Duckworth for the Form 10-K containing the statements in ¶160, supra, were also false

and misleading, as the report did in fact contain “untrue statement[s] of a material fact or omit[ted]

to state a material fact necessary to make the statements made, in light of the circumstances under

which such statements were made, not misleading with respect to the period covered by th[e]

report.”

VI.     LOSS CAUSATION/ECONOMIC LOSS

        179.    During the Class Period, as detailed herein, defendants made false and misleading

statements and/or omitted material information concerning Acadia’s business fundamentals and

financial prospects and engaged in a scheme to deceive the market. By artificially inflating,

maintaining and manipulating the price of Acadia securities, defendants deceived plaintiffs and the

Class (defined below) and caused them losses when the truth was revealed. When defendants’ prior

misrepresentations and fraudulent conduct began to leak out and became apparent to the market, it

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caused the price of Acadia securities to fall precipitously as the prior artificial inflation came out of

the stock price. As a result of their purchases of Acadia securities during the Class Period, plaintiffs

and other members of the Class suffered economic loss, i.e., damages, under the federal securities

laws.

        180.    On October 24, 2017, Acadia issued a release entitled “Acadia Healthcare Reports

Third Quarter Financial Results.” The release stated that “Revenue for the quarter was $716.7

million, a 2.4% decrease from $734.7 million for the third quarter of 2016.” The release quoted

Jacobs, stating:

                “The third quarter financial results for our operations in the United Kingdom
        reflected a lower census and higher operating costs than anticipated. After
        experiencing expected seasonal softness in census for the month of August, the
        typical rebound in census in the month of September was significantly weaker than
        anticipated. In addition, due to further tightening in the labor market primarily for
        nurses and other clinical staff, we incurred higher agency labor expense than
        planned.”

        181.    In addition, the release stated that Acadia was lowering its FY 2017 financial

guidance.

        182.    That same day, Stephens published an analyst report entitled: “ACHC Initial View:

3Q17 Results.” The report stated that “a miss and FY17 guide down following management selling

shares in August at ~$50 will likely not sit well with investors. The quarter miss/guide down appear

largely driven by lackluster results in the UK, particularly on labor costs.”

        183.    On October 25, 2017, RBC Capital Markets published an analyst report entitled:

“3Q17 miss on UK census and labor headwinds; guidance lowered.” The report stated that

“Acadia’s shock UK results (90% of the shortfall) came as a surprise, driving a 26% sell-off. . . .

Given yesterday’s results, skepticism is high and many investors question the merits behind the

problematic (so far) UK entry.” That same day, Deutsche Bank published an analyst report entitled:



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“Downgrade to Hold – UK Weakness Prompts More Cautious Stance.” The report announced that

Deutsche Bank was downgrading Acadia stock to Hold from Buy, stating:

        Our fundamental call is that visibility into the company’s UK business is extremely
        low with both labor pressure accelerating and admissions growth slowing. . . . [T]he
        U.K. business appears to be getting worse, not better. . . . [W]e find it difficult to
        recommend buying Acadia until we see some evidence that the U.K. business is
        indeed stabilizing.

        184.    On this news, the price of Acadia securities declined from a close of $44.12 per share

on October 24, 2017, to an intraday low of $30.91 per share on October 25, 2017, a decline of 30%.

        185.    On October 11, 2018, Aurelius Value published a report and released a video

documenting systematic instances of patient abuse and neglect at dozens of Acadia facilities, caused

primarily by understaffing.

        186.    The report included an analysis of CMS inspection reports from 2013 to 2018 for 31

of the 40 acute inpatient U.S. hospitals listed on Acadia’s website,7 documenting that federal

inspectors uncovered staffing deficiencies at 28 of the 31 Acadia hospitals, including repeated

violations for not having enough nurses or qualified practitioners on hand. Of the 28 hospitals that

had staffing deficiencies, 25 were also cited by inspectors for having deficiencies related to patient

safety or care, including violations involving patient deaths, suicides, elopements (escapes),

improper or erroneous administration of medications, improper use of restraints, and physical or

sexual assaults. Inspectors also found managerial deficiencies at 27 of the 31 facilities, which

included failures to report incidents to law enforcement or even investigate patient abuse allegations,

and failures to provide proper oversight or follow or establish appropriate patient safety protocols.

        187.    Aurelius Value also conducted an analysis which found that Acadia’s hospitals were

objectively worse than its closest competitor, UHS. Aurelius Value compared the results of 70 CMS


7
    Acadia’s acute inpatient facilities accounted for 40%-43% of the Company’s U.S. revenue
throughout the Class Period.

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inspection reports of Acadia facilities from 2015-2017 to 153 CMS inspection reports for 58

different UHS behavioral hospitals over the same time period. The Aurelius Value analysis

concluded that Acadia facilities averaged 4.8 violations per inspection, 60% higher than the 3

violations per inspection averaged by the UHS facilities. Its review also found that Acadia facilities

received double the violations per inspection involving patient safety or care deficiencies, and four

times the number of violations for staffing problems.

        188.    That same day, Cantor Fitzgerald published an analyst report discussing the Aurelius

Value revelations entitled: “Story Alleging Numerous Patient Issues Hits ACHC; Assessment of It

Could Take Time.” The Cantor Fitzgerald report noted that the Aurelius Value analysis “references

a number of CMS records and related research, [which] could take [Acadia] some time to refute.”

Cantor Fitzgerald also noted that the Aurelius Value analysis was at odds with Acadia’s purported

prior behavior, including that these were new revelations.

        189.    On this news, the price of Acadia securities declined from a close of $36.55 per share

on October 10, 2018, to an intraday low of $32.37 per share on October 12, 2018, a decline of over

11%.

        190.    On November 16, 2018, Seeking Alpha published an article entitled: “Acadia

Healthcare: Very Scary Findings From A 14-Month Investigation.” The article described Acadia’s

rapid growth, but attributed Acadia’s recent revenue and margin increases to cost-cutting and

“reducing the quality of care.” The article highlighted severe problems at seven of Acadia’s

facilities – facilities also mentioned in the Aurelius Value report – as “consistent with declining

quality of care,” and reported that, according to an industry expert, “‘due to the number of suicides at

some of their facilities, Acadia’s ability to accept certain patients has been restricted by state-level

governments.’” The report also stated that while most of Acadia’s business came from referrals, an

industry expert stated that “Acadia has developed an industry-wide reputation for not providing

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quality care, cutting costs, and cannibalizing their own programs in order to raise profits. As a

result, reputable clinicians are willing to refer to Acadia less and less.” In addition, the article

discussed how Acadia’s insiders had sold almost all of their Acadia stock since August 2015, and

suggested the Company may have to write down its goodwill in light of the problems with its Priory

facilities.

        191.      That same day, the Motley Fool published an article entitled: “Here’s Why Acadia

Healthcare Company Inc. Is Plummeting.” The article stated that “[s]hares of Acadia . . . dropped

19% as of 12:05 p.m. EST on Friday. The decline appears to be linked to the release of [the Seeking

Alpha report]. . . . The crux of the short-seller’s argument is that Acadia is engaged in a number of

questionable business practices and that its books do not look as good as they appear.”

        192.      On this news, the price of Acadia securities declined from a close of $37.86 per share

on November 15, 2018, to an intraday low of $28.02 per share on November 16, 2018 – a decline of

26%.

        193.      The decline in the price of Acadia securities after the corrective disclosures came to

light was a direct result of the revelation of the nature and extent of defendants’ fraudulent

misrepresentations to investors and the market. The timing and magnitude of the price declines in

Acadia securities compared to the market and its peers negate any inference that the loss suffered by

plaintiffs and the other Class members was caused by changed market conditions, macroeconomic or

industry factors, or Company-specific facts unrelated to defendants’ fraudulent conduct. The

economic loss, i.e., damages, suffered by plaintiffs and the other Class members was a direct result

of defendants’ fraudulent scheme to artificially inflate the price of Acadia securities and the

subsequent significant decline in the value of Acadia securities when defendants’ prior

misrepresentations and other fraudulent conduct were revealed.



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VII.    ADDITIONAL SCIENTER ALLEGATIONS

        194.    Defendants had actual knowledge of, and/or were at least reckless with respect to the

quality of care, staffing and regulatory issues in the Company’s U.K. operations alleged above in

§V., which rendered their Class Period statements and omissions materially false and misleading.

        A.      Massive Insider Sales Provide Strong Indicia of Scienter

        195.    Defendants’ scienter is evidenced by the massive insider sales and trading of Acadia

stock during the Class Period, which was suspicious in both timing and amount, permitting the

Individual Defendants and Acadia insiders to accumulate more than $600 million total in ill-gotten

gains before the alleged fraud was disclosed.

                1.     Jacobs’ Class Period Sales and Insider Trading

        196.    During the period preceding the Class Period,8 Jacobs sold 323,893 Acadia shares for

proceeds of $7,187,526, which accounted for 23.24% of Jacobs’ outstanding shares during that

period. During the Class Period, Jacobs sold 797,967 Acadia shares for proceeds of $45,137,991,

which accounted for 60.17% of Jacobs’ outstanding shares during the Class Period. In other words,

Jacobs sold 2.5 times more stock during the Class Period than he did in the period preceding the

Class Period.

        197.    Jacobs’ sales were also suspicious in timing. As depicted in the graphic below, one of

Jacobs’ large Class Period sales – $7.4 million – was made on August 14, 2015, when the stock price

traded near its Class Period high due to inflation caused by defendants’ false and misleading

statements alleged herein. See ¶¶112-119, 150, supra. Jacobs’ other Class Period sales also

occurred shortly before precipitous declines in Acadia’s stock price, when the stock price was

inflated by misrepresentations and omissions. Critically, Jacobs made his largest Class Period sale –


8
    For Jacobs, Turner, Duckworth and Waud, plaintiffs compared each individual’s Class Period
trades against their trades following Acadia’s reverse merger to April 29, 2014.

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$25.3 million, or 57% of his total Class Period sales – on August 22, 2017, just weeks before

Acadia’s first partial disclosure of the fraud alleged herein on October 25, 2017.


                                                                                                                Acadia Healthcare Company ‐ Jacobs
 $90.00
                      Sold $1.8M                                                                                                                              Sold $7.4M

 $80.00

                                                                                                                                                                                                              Sold $25.3M
 $70.00
                                                                                                                                                                                                                                                                                                    11/16/18 Disclosure

 $60.00


 $50.00
                                                                                              Sold $1.6M

 $40.00
                                                                              Sold $8M

 $30.00
                                                                                                                                                                            10/25/17 Disclosure

 $20.00
                                                                                                                                                                                                                                                               10/11/18 Disclosure


 $10.00


  $0.00
          4/1/2014

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                 198.                      Conspicuously, Jacobs did not sell any shares after the first partial corrective

disclosures, when artificial inflation began to exit Acadia’s stock price, until he was fired from the

Company.

                                           2.                                 Turner’s Class Period Sales and Insider Trading

                 199.                      During the period preceding the Class Period, Turner sold 99,833 Acadia shares for

proceeds of $2,365,880, which accounted for 26.59% of Turner’s outstanding shares during that

period. During the Class Period, Turner sold 294,545 Acadia shares for proceeds of $15,886,703,

which accounted for 73.32% of Turner’s outstanding shares during the Class Period. In other words,

Turner sold 2.3 times more stock during the Class Period than he did in the period preceding the

Class Period.

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                 200.                       Turner’s sales were also suspicious in timing. As depicted in the graphic below, like

Jacobs, Turner also sold a substantial portion of his shares in August 2015, when the stock price

traded near its Class Period high due to inflation caused by defendants’ false and misleading

statements alleged herein. See ¶¶112-119, 150, supra. Turner’s other Class Period sales also

occurred shortly before precipitous declines in Acadia’s stock price, when the stock price was

inflated by misrepresentations and omissions. Like Jacobs, Turner made his largest Class Period

sale – $10.5 million, or 66% of his total Class Period sales – on August 22, 2017, just weeks before

Acadia’s first partial disclosure of the fraud alleged herein on October 25, 2017.


                                                                                                                  Acadia Healthcare Company ‐ Turner
 $90.00
                                                                                                                                                     Sold $1.4M

 $80.00
                     Sold $2.1M
                                                                                                                                                                                                        Sold $10.5M
 $70.00


 $60.00
                                                                                                                                                                                                                                                                                                     11/16/18 Disclosure

 $50.00
                                                                                                     Sold $820K

 $40.00

                                           Sold $1.1M
 $30.00
                                                                                                                                                                      10/25/17 Disclosure

 $20.00
                                                                                                                                                                                                                                                               10/11/18 Disclosure

 $10.00


  $0.00
          4/1/2014

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                 201.                       Like Jacobs, Turner did not sell any shares after the first partial corrective disclosures,

when artificial inflation began to exit Acadia’s stock price.




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                3.     Duckworth’s Class Period Sales and Insider Trading

        202.    During the period preceding the Class Period, Duckworth sold 11,540 Acadia shares

for proceeds of $477,622, which accounted for 25.46% of Duckworth’s outstanding shares during

that period. During the Class Period, Duckworth sold 64,203 Acadia shares for proceeds of

$4,412,452, which accounted for 59.89% of Duckworth’s outstanding shares during the Class

Period. In other words, Duckworth sold 5.5 times more stock during the Class Period than he did in

the period preceding the Class Period.

        203.    Duckworth’s sales were also suspicious in timing. As depicted in the graphic below,

Duckworth made his largest Class Period trade – $2.6 million, or 60% of his Class Period sales – in

August 2015, at the same time Waud, Jacobs and Turner executed large trades to take advantage of

the near-Class Period high stock price. Duckworth’s other Class Period sales also occurred shortly

before precipitous declines in Acadia’s stock price, when the stock price was inflated by

misrepresentations and omissions.




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                                                                                                        Acadia Healthcare Company ‐ Duckworth
 $90.00
                     Sold $592K                                                                                                                                   Sold $2.6M

 $80.00

                                                                                                                                                                                                                        Sold $905K
 $70.00
                                                                                                                                                                                                                                                                                                             11/16/18 Disclosure


 $60.00


 $50.00
                                                                              Sold $341K

 $40.00


 $30.00
                                                                                                                                                                     10/25/17 Disclosure

 $20.00
                                                                                                                                                                                                                                                             10/11/18 Disclosure


 $10.00


  $0.00
          4/1/2014

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                 204.                      Like Jacobs and Turner, Duckworth did not sell any shares after the first partial

corrective disclosures, when artificial inflation began to exit Acadia’s stock price.

                                           4.                                 Waud’s Class Period Sales and Insider Trading

                 205.                      Reeve Waud, the Founder and Managing Partner of Waud Capital Partners (“WCP,”

together with Reeve Waud, “Waud”), currently serves as Chairman of Acadia, and has served on its

Board since 2005. Waud founded Acadia and continues to hold a significant investment in Acadia.

                 206.                      As a founder of Acadia and a member of Acadia’s Board, Waud was privy to

confidential, proprietary information concerning Acadia, its finances, operations, financial condition,

and present and future business prospects. Waud also had access to material adverse non-public

information concerning Acadia, including at the time of his securities transactions listed below.

                 207.                      During the period preceding the Class Period, Waud sold 3,262,873 Acadia shares for

proceeds of $70,478,057, which accounted for 18.3% of Waud’s outstanding shares during that

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period.                  During the Class Period, Waud sold 10,438,846 Acadia shares for proceeds of

$559,623,048, which accounted for 92.9% of Waud’s outstanding shares during the Class Period. In

other words, Waud sold 3.1 times more stock during the Class Period than he did in the period

preceding the Class Period.

                 208.                      Waud’s sales were also suspicious in timing. As depicted in the graphic below,

Waud’s largest Class Period sale – more than $193 million – occurred on August 14, 2015 when the

stock price traded near its Class Period high due to inflation caused by defendants’ false and

misleading statements alleged herein. See ¶¶112-119, 150, supra. Waud’s other Class Period sales

also occurred shortly before precipitous declines in Acadia’s stock price, when the stock price was

inflated by misrepresentations and omissions.


                                                                                                                  Acadia Healthcare Company ‐ Waud
 $90.00
                                 Sold $193M

 $80.00
                                                                                                                                                                                                                                              Sold $38M

 $70.00
                                                                                                                                                                                               Sold $124M                                                                   Sold $50M

 $60.00
                                                                                                                                                                                                                                                                                                                 11/16/18 Disclosure


 $50.00


 $40.00

                                                                                                               Sold $70M
 $30.00
                                                                                                                                                                                                                                 Sold $67M

 $20.00
                                                                                                                                                                                                                                                                                                        10/11/18 Disclosure
                                                                                                                                                                                                                                  10/25/17 Disclosure

 $10.00


  $0.00
          4/1/2014

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                 209.                      Tellingly, of Waud’s nearly $560 million in Class Period insider sales, $544 million –

or 97% – was sold before artificial inflation began to leak out of the stock as a result of the first
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partial corrective disclosure on October 25, 2017. Waud’s sale of almost all of his Acadia stock

shortly before the first partial corrective disclosure strongly supports an inference that defendants

knew Acadia’s stock price was artificially inflated by fraud, which would soon be revealed to the

public.

          B.     Defendants Closely Monitored Patient Admissions, Staffing Levels
                 and Other Quality Control Metrics

          210.   Throughout the Class Period, defendants had direct knowledge of internal metrics

tracking patient levels, staffing levels and other measures of the quality of care.

          211.   Throughout the Class Period, defendants maintained a census that tracked the total

number of patients at Acadia facilities. As Jacobs explained at the Raymond James Institutional

Investors Conference on March 8, 2016, Acadia’s census was a critical metric used by defendants to

collect revenue, and as such, it was reviewed on a daily basis to identify trends for corrective action:

                 We get paid per diems, so we’re – it’s pretty easy to see how you’re trending
          when you look at the census report every day and you see what that looks like. You
          can make – you can take action to help oversee things. So, we’ve got a great team
          of operators and financial folks in the divisions.

          212.   On the October 25, 2017 earnings call, Jacobs confirmed again that the Company has

“a pretty good handle on how the census is trending on a daily basis.”

          213.   Jacobs reiterated this fact once again on the July 31, 2018 earnings call: “We look at

the census every day.”

          214.   Defendants also relied on the number and trends of patients and open beds to

determine current and future staffing levels at Acadia facilities. Turner admitted as such at the RBC

Capital Markets Healthcare Conference held on February 22, 2017:

                  [Frank Morgan – Analyst:] So if we get this extra volume, obviously there’s
          been a lot of discussions around labor and capacity, capacity being labor capacity,
          not physical capacity. But what is your thoughts on that current state. Can you – do
          you have the labor capacity to handle the volume if we do get incremental volume?


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                [Turner:] I think – you know, as you have seen from our historical numbers,
        we have been able to grow our organic revenues very healthy numbers, upper to mid-
        single digits. When you do that in an inpatient setting, you have to have an
        incremental staffing. Caring for more patients means you must bring on more staff
        to do that.

                 So again, we look at the history, we look at the trends going forward. We
        are in a full employment market. The economy is doing well. But we are only
        focused on behavioral health, and we’ve got a lot of resources and efforts
        designated. Our internal recruiting, corporate recruitings, supporting our
        facilities. We’ve just got – everybody in the Company knows when these next 20
        beds are coming on in a certain market, so it’s not a surprise when those beds
        come online that we are expecting to have more labor needs there.

        215.    Defendants also represented throughout the Class Period that they designated

significant resources to identifying, tracking and reporting separate metrics related to quality of care.

For instance, at the September 9, 2015 Wells Fargo Healthcare Conference, Jacobs explained that the

Company maintained a “robust” clinical risk management department in its corporate office to assist

its local divisions in minimizing adverse patient events:

                [Unidentified Audience Member:] Generally speaking or broadly, how do
        you try to minimize adverse patient event at your facilities?

                 [Jacobs:] Well, we have a robust clinical risk management department at
        the corporate office, but this is the primary responsibility of the CEO, his medical
        staff, or their medical staff, and our employees at the local level; that is their job, take
        care of the patient. And we can provide corporate resources to assist you in that
        and can do benchmarking and trending and point out areas for improvement, but
        at the end of the day, it’s the responsibility of the CEO of that facility to make sure
        the quality of care is there.

        216.    Similarly, at the February 22, 2017 RBC Capital Markets Healthcare Conference,

Jacobs represented that the Company’s quality and compliance department did nothing but track

efficacy of care:

                [Unidentified Audience Member:] Thanks. One of those questions raised in
        the negative headlines I think talked about efficacy of care. And do you guys track
        efficacy and do you think the industry should track efficacy? Are people actually
        getting cured when they come in versus (inaudible)?

               [Jacobs:] We can do a better job. Now, unfortunately, the psychiatric
        industry has been discriminated for years. And when the federal government gave

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        out all this money for to – for med/surg hospitals to improve their computer systems,
        we got nothing.

                So if we had gotten some money and was able to invest in our computer
        systems, we would be able to track that better. We are investing in that, but it is
        more manual than it is computerized. And we have a department headed up by
        Scott Schwieger that our quality and compliance department that does nothing but
        look at this.

        217.    Lastly, the Company was required to regularly report certain quality assurance

metrics to CMS in order to collect full Medicare and Medicaid payments. As Turner explained at

the September 6, 2017 Robert W. Baird Global Healthcare Conference:

                [Benjamin Whitman Mayo – Robert W. Baird Analyst:] And one of the, I
        guess, obvious – I don’t want to say flaws, maybe the shortcomings of the industry is
        there’s no standardized outcomes or quality measurements that are out there. How
        does – when you guys talk about value-based care and behavioral treatment and how
        they come together, I mean, what are you guys discussing in the boardroom?

                [Turner:] Well, first, there are some measurements. CMS requires – I think
        there’s about a 7 core measure that get reported. I think we can all debate or agree
        that they’re not the best measurements, but they are required measurements. And –
        but right now, we’re – our industry is in a pay per reporting mode. Because CMS
        will penalize you 2% of your net revenues from them if you don’t report your stats.
        And so we’ve been reporting now for over 2 years those stats.

        218.    Defendants therefore had direct knowledge of, and access to, contemporaneous data

of the Company’s understaffing and quality of care issues at the time they issued their false and

misleading statements alleged herein.

        C.      Acadia’s Incentive Compensation Systems Encouraged Poor Quality
                Care

        219.    From top to bottom, defendants designed, implemented, and approved compensation

structures that incentivized employees and executives to prioritize short-term profits above patient

care, leading to the egregious patient care issues alleged herein.

        220.    First, a former Treatment Placement Specialist (“TPS”) who worked for Acadia

during the Class Period reported that Acadia paid commissions to its employees for placing patients

into facilities. Acadia maintained a weighted compensation system whereby TPS representatives

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received higher commissions for placing patients at facilities that were more profitable for Acadia,

regardless of patient need. Predictably, the TPS representative reported that TPS representatives

would place patients in facilities in order to maximize their own commissions and Acadia’s profits,

rather than referring the patient to the facility most appropriate for their needs, if any.

        221.    Second, a former Business Office Director who worked for Acadia during the Class

Period reported that Acadia compensated its facility executives, including facility CEOs and CFOs,

in large part through bonuses. Whether or not a facility executive received a bonus would depend on

whether the facility met the budget set by Acadia during the prior year. If a facility was behind on

the budget set by Acadia, facilities would be directed to cut costs, including by firing staff, in order

to make their budget, further jeopardizing patient care.

        222.    Third, while Acadia repeatedly stated that they were “committed to providing quality

patient care at our facilities,” the quality of patient care was not a metric utilized in determining

bonuses for the Individual Defendants, which made up the vast majority of their compensation.

Instead, the Individual Defendants’ bonuses were set solely with reference to Acadia’s adjusted EPS,

adjusted EDITBA and revenue, and Acadia intentionally factored out costs associated with poor

quality care, such as legal settlement costs and non-recurring items, in calculating the Individual

Defendants’ entitlement to bonuses, creating a substantial risk that the Individual Defendants would

sacrifice patient care to achieve short-term unsustainable results which allowed them to receive

lucrative incentive compensation awards.

        D.      Acadia’s CEO and President Were Fired or Resigned with No Notice
                Following the Alleged Corrective Disclosures

        223.    On Sunday, December 16, 2018, just one month after publication of the Seeking

Alpha report (see ¶190, supra), and without any advance notice, Jacobs was summarily fired from

his position as CEO by Acadia’s Board, and removed as the Board’s Chairman. Jacobs was fired in


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spite of the fact that just six weeks earlier, on November 6, 2018, Acadia reiterated that it depended

on its “chief executive officer,” and that the loss of his services could harm its business.

        224.    Jacobs’ involuntary termination was not typical for Acadia, which did not regularly

fire its senior executives on Sundays without advance notice to shareholders.

        225.    The bloodletting continued on March 19, 2019, when Turner left his position as

President – a departure that was not disclosed to investors for almost a week – without Acadia even

naming a replacement to fill his position, and despite the fact that the role of President is expressly

enumerated in the Company’s bylaws.

        226.    Turner’s termination was also unusual because on March 21, 2019, Acadia’s Board

solicited shareholder approval for Turner’s 2019 multi-million dollar compensation package, despite

the fact that Turner was no longer even an Acadia executive as of March 19, 2019.

        E.      Acadia Recommended Against a Shareholder Resolution Calling for
                Greater Transparency Regarding Patient Safety

        227.    Included in the Company’s 2016 and 2017 proxy statements were shareholder

proposals that would have required Acadia to prepare a sustainability report including information

regarding patient and worker safety and security, among other topics. The proposal specifically

noted that “[p]atient safety, product marketing and quality of care, and quality of staff work life,”

were areas of concern.

        228.    Acadia’s Board, which included Jacobs, lobbied shareholders to reject the proposal,

assuring shareholders that they “conduct our business in compliance with applicable law” and that “a

report of the type being requested” was unnecessary. The Board further stated that preparing such a

report would distract from “core elements of our business strategy,” including:

               creating a world-class organization that sets the standard of excellence in the
                treatment of specialty behavioral health and addiction disorders;



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               creating behavioral health centers where people receive individualized and
                quality care that enables them to regain hope in a supportive, caring
                environment;

               offering an enviable internal culture and environment that encourages and
                supports both professional and personal growth that our employees are proud
                of; and

               developing partnerships with physicians, professionals, and payers within the
                communities we serve through the delivery of high quality specialty
                behavioral health services at affordable costs while always putting the patient
                first.

        229.    Jacobs’ and Acadia’s refusal to endorse the preparation of a sustainability report,

which would have included increased information and reporting on the exact issues upon which a

portion of their fraudulent conduct was based, and their willingness to further mislead investors in

efforts to persuade shareholders to vote against the proposal, is still further evidence of scienter.

VIII. APPLICABILITY OF PRESUMPTION OF RELIANCE

        230.    Because of defendants’ pervasive Class Period omissions, a class-wide presumption

of reliance is appropriate pursuant to Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972).

        231.    Plaintiffs’ claims for securities fraud are also asserted, in part, under the fraud-on-the

market theory of reliance. The market price of Acadia securities, including common stock regularly

traded on the NASDAQ, was artificially inflated by the false and misleading statements and

omissions complained of herein. Defendants’ false statements and omissions inflated the price of

Acadia securities both before and during the Class Period.

        232.    The Class Period inflation in the price of Acadia securities was eliminated when the

financial conditions, business risks and other information concealed by defendants’ fraud was

revealed to the market. The information did not reach the market all at once but leaked out through

several partial disclosures, each of which partially corrected the market price of Acadia securities.

        233.    At all relevant times, the market for Acadia securities was an efficient market for the

following reasons, among others:
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                (a)    Acadia securities met the requirements for listing, and were listed and actively

traded, on the NASDAQ, a highly efficient and automated market;

                (b)    During the Class Period, a high volume of Acadia securities traded on the

NASDAQ;

                (c)    As a regulated issuer, Acadia filed periodic public reports with the SEC and

NASDAQ;

                (d)    Acadia regularly communicated with investors via established market

communication mechanisms, including through regular disseminations of press releases on the

national circuits of major newswire services, publications on its website and other Internet sites, and

other wide-ranging public disclosures, such as conference calls, communications with the financial

press and other similar reporting services;

                (e)    During the Class Period, Acadia was followed by securities analysts employed

by major brokerage firms. Analysts employed by these and other firms regularly wrote reports based

on the publicly available information disseminated by defendants about Acadia. These reports were

distributed to the sales force and certain customers of their respective brokerage firms; and

                (f)    Acadia had substantial institutional ownership during the Class Period. Each

of these institutions regularly analyzed and reported on the publicly available information about

Acadia and its operations.

        234.    Through the foregoing mechanisms, the information publicly disseminated by

defendants about Acadia and its operations, and the import thereof, became widely available to and

was acted upon by investors in the marketplace, such that, as a result of their transactions in Acadia

stock, the information disseminated by defendants, including the false and misleading statements

described above, became incorporated into and were reflected by the market price of Acadia publicly

traded securities.

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        235.    Under these circumstances, all purchasers of Acadia securities during the Class

Period suffered similar injury through their purchase of Acadia securities at artificially inflated

prices and their subsequent decline in value, and a presumption of reliance applies.

IX.     CLASS ACTION ALLEGATIONS

        236.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons who purchased or otherwise

acquired Acadia securities during the Class Period and were harmed thereby (the “Class”). Excluded

from the Class are defendants and their immediate families, the officers and directors of the

Company, at all relevant times, members of their immediate families and their legal representatives,

heirs, successors or assigns, and any entity in which defendants have or had a controlling interest.

        237.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Acadia shares were actively traded on the NASDAQ.

While the exact number of Class members is unknown to plaintiffs at this time, plaintiffs believe that

there are thousands of members in the proposed Class, if not more. Record owners and other

members of the Class may be identified from records maintained by Acadia, its transfer agent or

securities’ brokers, and may be notified of the pendency of this action electronically or by mail,

using the form of notice similar to that customarily used in securities class actions.

        238.    Plaintiffs’ claims are typical of the claims of the members of the Class as all members

of the Class are similarly affected by defendants’ wrongful conduct in violation of federal law

complained of herein.

        239.    Plaintiffs will fairly and adequately protect the interests of the members of the Class

and have retained counsel competent and experienced in class action and securities litigation.




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        240.      Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)     whether the federal securities laws were violated by defendants’ acts as

alleged herein;

                  (b)     whether statements made by defendants to the investing public during the

Class Period misrepresented material facts about the business and operations of Acadia;

                  (c)     whether the price of Acadia securities was artificially inflated during the Class

Period; and

                  (d)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

        241.      A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden of

individual litigation make it impossible for members of the Class to individually redress the wrongs

done to them. There will be no difficulty in the management of this action as a class action.

                                                COUNT I

                        For Violation of §10(b) of the 1934 Act and Rule 10b-5
                                       (Against All Defendants)

        242.      Plaintiffs incorporate ¶¶1-241 by reference.

        243.      During the Class Period, defendants disseminated or approved the statements as

specified above in ¶¶112-128, 131-147, 150-156 and 159-177, which they knew or recklessly

disregarded contained material misrepresentations and/or failed to disclose material facts necessary

in order to make the statements made, in light of the circumstances under which they were made, not

misleading.
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        244.    Defendants violated §10(b) of the 1934 Act and SEC Rule 10b-5 in that they:

                (a)    employed devices, schemes and artifices to defraud;

                (b)    made untrue statements of material facts or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they were

made, not misleading; or

                (c)    engaged in acts, practices, and a course of business that operated as a fraud or

deceit upon plaintiffs and others similarly situated in connection with their purchases of Acadia

securities during the Class Period.

        245.    Defendants, individually and together, directly and indirectly, by the use of the means

and instrumentalities of interstate commerce and/or the mails, engaged and participated in a

continuous course of conduct to conceal the truth and/or adverse material information about

Acadia’s business, operations and financial condition as specified herein.

        246.    Defendants had actual knowledge of the misrepresentations and omissions of material

fact set forth herein, or recklessly disregarded the true facts that were available to them.

        247.    As a result of the dissemination of the materially false or misleading information

and/or failure to disclose material facts, as set forth above, the market price of Acadia securities was

artificially inflated during the Class Period. In ignorance of the fact that the market price of Acadia

securities was artificially inflated, and relying directly or indirectly on the false and misleading

statements, or upon the integrity of the market in which Acadia securities traded, and/or on the

absence of material adverse information that was known to or recklessly disregarded by defendants

(but not disclosed in defendants’ public statements during the Class Period), plaintiffs and the other

Class members purchased or otherwise acquired Acadia securities during the Class Period at

artificially high prices and were damaged thereby.



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        248.    Plaintiffs and the Class, in reliance on the integrity of the market, paid artificially

inflated prices for Acadia securities, and suffered losses when the relevant truth was revealed.

Plaintiffs and the Class would not have purchased Acadia securities at the prices they paid, or at all,

if they had been aware that the market prices had been artificially and falsely inflated by these

defendants’ misleading statements.

        249.    As a direct and proximate result of these defendants’ wrongful conduct, plaintiffs and

the other Class members suffered damages in connection with their Class Period transactions in

Acadia securities.

        250.    By reason of the foregoing, defendants named in this Count have violated §10(b) of

the 1934 Act and SEC Rule 10b-5.

                                             COUNT II

                             For Violation of §20(a) of the 1934 Act
                              (Against the Individual Defendants)

        251.    Plaintiffs incorporate ¶¶1-250 by reference.

        252.    Defendants were controlling persons of Acadia within the meaning of §20(a) of the

1934 Act. By virtue of their high-level positions as officers and/or directors of Acadia, their

ownership and contractual rights, participation in and awareness of the Company’s operations, and

intimate knowledge of the statements filed by the Company with the SEC and/or disseminated to the

investing public, these defendants had the power to influence and control and did influence and

control, directly or indirectly, the decision-making of the Company, including the content and

dissemination of the allegedly false and misleading statements.

        253.    In particular, each of these defendants had direct or supervisory responsibility over

the day-to-day operations of the Company and, therefore, is presumed to have had the power to

control or influence the particular transactions and business practices giving rise to the securities

violations as alleged in Count I, and exercised that power.
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        254.     As a direct and proximate result of these defendants’ wrongful conduct, plaintiffs and

other members of the Class suffered damages in connection with their purchases and acquisitions of

Acadia securities during the Class Period when the relevant truth was revealed.

        255.     By reason of the foregoing, the defendants named in this Count violated §20(a) of the

1934 Act.

                                      PRAYER FOR RELIEF

        WHEREFORE, plaintiffs pray for relief and judgment as follows:

        A.       Determining that this action is a proper class action and certifying plaintiffs as Class

representatives under Rule 23 of the Federal Rules of Civil Procedure and plaintiffs’ counsel as

Class Counsel;

        B.       Awarding compensatory damages in favor of plaintiffs and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

        C.       Awarding plaintiffs and the Class their reasonable costs and expenses incurred in this

action, including counsel fees and expert fees; and

        D.       Awarding such other and further relief as the Court may deem just and proper.




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                                        JURY DEMAND

        Plaintiffs hereby demand a trial by jury.

DATED: April 1, 2019                            ROBBINS GELLER RUDMAN & DOWD LLP
                                                JERRY E. MARTIN, #20193
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                                 CERTIFICATE OF SERVICE

        I hereby certify under penalty of perjury that on April 1, 2019, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and I

hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

non-CM/ECF participants indicated on the attached Manual Notice List.

                                                  s/ CHRISTOPHER M. WOOD
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Mailing Information for a Case 3:18-cv-00988 St. Clair County Employees' Retirement System v.
Acadia Healthcare Company, Inc. et al
Electronic Mail Notice List

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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may wish to
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• (No manual recipients)




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